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        Index of Exhibits to the Expert Declaration and Written
                     Testimony of Martin F. Horn


  Exhibit Description

    1     List of documents relied upon by Martin F. Horn (Redacted)

    2     Notes from September 2021 tours of ASPC Lewis and ASPC
          Eyman (Under Seal)

    3     Interview key from September 2021 tours of ASPC Lewis and
          ASPC Eyman (Under Seal)

    4     Out-of-cell tracking form summary spreadsheets (Redacted)

    5     Photos taken during September 2021 tours of ASPC Lewis and
          ASPC Eyman

    6     Curriculum vitae of Martin F. Horn (Redacted)
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       EXHIBIT 1
REDACTED AND FILED UNDER SEAL
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Documents Relied Upon by Martin F. Horn

Pleadings
   x Doc. 1 – Complaint
   x Doc. 3383 – Lodged Proposed Supplemental Evidence in Support of Motion to
       Enforce and Exhibit A thereto
   x Doc. 3590 – Plaintiffs’ Memorandum in Support of Motion to Enforce MCPMs
   x Doc. 3600 – Declaration of Curtis Harris and all exhibits thereto
   x Doc. 3601 and 3602 – Declaration of Jessica Carns and all exhibits thereto
   x Doc. 3666 and 3667 – Defendants’ Response in Opposition to Motion to Enforce
       with Exhibits 1-8
   x Doc. 3755 – Defendants’ Notice of Compliance with Court Order
   x Doc. 3768 – Plaintiffs’ Lodged Proposed Reply in Support of Motion to Enforce
       Stipulation
   x Doc. 3769 – Declaration of Maria Morris and all exhibits thereto
   x Doc. 3770 – Declaration of Jessica Carns and all exhibits thereto
   x Doc. 3775 – Plaintiffs’ Reply in Support of Motion to Enforce
   x Doc. 3833 – Lodged Proposed Supplemental Evidence in Support of Plaintiffs’
       Motion to Enforce the Stipulation
   x Doc. 3834 - Lodged Proposed Supplemental Declaration of Maria V. Morris and
       all exhibits thereto
   x Doc. 3835 – Declaration of Jessica Carns and all exhibits thereto
   x Doc. 3838 – Sealed Supplemental Declaration of Maria Morris and all exhibits
       thereto
   x Doc. 3861 – Order

Department Orders
  x Department Order 105 - Information Reporting
  x Department Order 704 - Inmate Regulations
  x Department Order 720 - Inmate Tablet Program
  x Department Order 801 - Inmate Classification
  x Department Order 803 - Inmate Disciplinary Procedure
  x Department Order 804 - Inmate Behavior Control
  x Department Order 805 - Protective Custody
  x Department Order 806 - Security Threat Groups
  x Department Order 811 - Individual Assessments and Reviews
  x Department Order 812 - Inmate Maximum Custody Management and Incentive
      System

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   x Department Order 813 Close Management
   x Department Order 904 - Inmate Recreation and Arts and Crafts
   x Department Order 923 - Sex Offender Education and Treatment Program

Previous Expert Reports
   x Eldon Vail Expert Report with Exhibits, 11/8/2013
   x Eldon Vail, Expert Rebuttal Report with Exhibits, 1/31/2014
   x Eldon Vail, Supplemental Expert Report, 2/24/2014
   x Rick Seiter , Supplemental Expert Report, 3/26/2014
   x Rick Seiter Expert Report with Exhibits, 12/18/2013
   x Rick Seiter, Second Supplemental Expert Report, 9/19/2014

Hiring Reports
   x ADCM1620611 - Eyman CO 6-1-2020
   x ADCM1625603-162516 - LEWIS Tab 15 - CO Status-Hiring Report
   x ADCM1626659-1626683 - Eyman Tab 1 CO Hiring Report
   x ADCM1628134-1628136 - Florence - A. CO Hiring Report 1-27-20
   x ADCM1628137-1628139 - Florence - A. CO Hiring Report 2-24-20
   x ADCM1628140-1628142 - Florence - A. CO Hiring Report 3-30-20
   x ADCM1628143-1628145 - Florence - A. CO Hiring Report 4-29-20
   x ADCM1628146-1628148 - Florence - A. CO Hiring Report 5-25-20
   x ADCM1628149-1628151 - Florence - A. CO Hiring Report 6-29-20
   x ADCM1628152-1628154 - Florence - A. CO Hiring Report 7-27-20
   x ADCM1629023-1629024 - Lewis - CO II - Hiring Report 01272020
   x ADCM1629025-1629026 - Lewis - CO II - Hiring Report 02242020
   x ADCM1629027-1629028 - Lewis - CO II - Hiring Report 03302020
   x ADCM1629029-1629030 - Lewis - CO II - Hiring Report 04272020
   x ADCM1629031-1629032 - Lewis - CO II - Hiring Report 05252020
   x ADCM1629033-1629034 - Lewis - CO II - Hiring Report 06292020
   x ADCM1629035-1629036 - Lewis - CO II - Hiring Report 07272020

Information Reports
   x ADCRR00055237-ADCRR00055240 - Information Report - Browning
      (7/24/2021)
   x ADCRR00055343-ADCRR00055348 - Information Report - Browning (8/8/2021)

Deposition Transcripts
  x Rough Transcript of Travis Scott’s Deposition on 10/5/2021

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  x Rough Transcript of Warden Van Winkle’s Deposition on 9/24/2021

Use of Force Videos and Documents
   x ADCRR00066697 Eyman SMU March 2021 UOF Packet
   x ADCRR00069280 Eyman SMU May 2021 UOF Packet
   x ADCRR00066748 – Eyman SMU UOF Video (3/22/2021, Seg 001)
   x ADCRR00066749 – Eyman SMU UOF Video (3/22/2021, Seg 002)
   x ADCRR00066750 – Eyman SMU UOF Video (3/10/2021, Seg 001)
   x ADCRR00066751 – Eyman SMU UOF Video (3/10/2021, Seg 002)
   x ADCRR00066752 – Eyman SMU UOF Video (3/18/2021, Seg 001)
   x ADCRR00066753 – Eyman SMU UOF Video (3/19/2021, Seg 001)
   x ADCRR00066754 – Eyman SMU UOF Video (3/19/2021, Seg 002)
   x ADCRR00066755 – Eyman SMU UOF Video (3/19/2021, Seg 003)
   x ADCRR00069318 – Eyman SMU UOF Video (5/23/2021, Seg 001)
   x ADCRR00069319 – Eyman SMU UOF Video (5/24/2021, Seg 001)
   x ADCRR00069320 – Eyman SMU UOF Video (5/24/2021, Seg 002)
   x ADCRR00069321 – Eyman SMU UOF Video (5/24/2021, Seg 003)
   x ADCRR00066756 Florence March 2021 UOF Packet
   x ADCRR00068438 Florence April 2021 UOF Packet
   x ADCRR00069672 Florence May 2021 UOF Packet
   x ADCRR00067118 – Florence UOF Video (3/13/2021, Seg 001)
   x ADCRR00068452 – Florence UOF Video (4/26/2021, Seg 001)
   x ADCRR00068452 – Florence UOF Video (4/26/2021, Seg 001)
   x ADCRR00069733 – Florence UOF Video (5/20/2021, Seg 001)
   x ADCRR00069734 – Florence UOF Video (5/17/2021, Seg 001)
   x ADCRR00069735 – Florence UOF Video (5/19/2021, Seg 001)
   x ADCRR00069736 – Florence UOF Video (5/18/2021, Seg 001)
   x ADCRR00068477 Lewis April 2021 UOF Packet
   x ADCRR00068490 – Lewis UOF Video (Cam 642)
   x ADCRR00068491 Phoenix April 2021 MC UOF Memo
   x ADCRR00068505 – Phoenix UOF Video (Static Building Footage)

Max Custody Notebooks
  x ADCM1568916-1569178 - MC Notebook - 2019-01 - Eyman Browning
  x ADCM1569179-1569465 - MC Notebook - 2019-01 - Eyman SMU I
  x ADCM1569466-1569707 - MC Notebook - 2019-01 - Lewis
  x ADCM1569730-1570069 - MC Notebook - 2019-01 - Florence
  x ADCM1578402-1578646 - MC Notebook - 2019-04 - Eyman-Browning

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   x   ADCM1578647-1578811 - MC Notebook - 2019-04 - Eyman-SMU
   x   ADCM1578812-1579158 - MC Notebook - 2019-04 - Florence
   x   ADCM1579159-1579412 - MC Notebook - 2019-04 - Lewis
   x   ADCM1592061-1592364 - MC Notebook - 2019-07 - E-Browning
   x   ADCM1592365-1592548 - MC Notebook - 2019-07 - E-SMU
   x   ADCM1592549-1593074 - MC Notebook - 2019-07 - Florence
   x   ADCM1593075-1593377 - MC Notebook - 2019-07 - Lewis
   x   ADCM1612443-1612772 - MC Notebook - 201910 - Eyman Browning
   x   ADCM1612773-1613057 - MC Notebook - 201910 - Eyman SMU
   x   ADCM1613058-1613432 - MC Notebook - 201910 - Florence
   x   ADCM1613433-1613704 - MC Notebook - 201910 - Lewis
   x   ADCM1636983-1637223 - MC Notebook - 2020-01 - Eyman-SMUI
   x   ADCM1637224-1637760 - MC Notebook - 2020-01 - Florence
   x   ADCM1637761-1638125 - MC Notebook - 2020-01 - Lewis
   x   ADCM1652735-1653143 - 2020-01 - MC Notebook - Eyman-Browning
   x   ADCM1660168-1660577 - 2020-04 - MC Notebook - Eyman Browning
   x   ADCM1660578-1660840 - 2020-04 - MC Notebook - Eyman SMU
   x   ADCM1660841-1661462 - 2020-04 - MC Notebook - Florence
   x   ADCM1661463-1661782 - 2020-04 - MC Notebook - Lewis
   x   ADCM1665113-1665437 - 2020-07 - MC Notebook - Eyman Browning
   x   ADCM1665438-1665791 - 2020-07 - MC Notebook - Eyman SMUI
   x   ADCM1665792-1666265 - 2020-07 - MC Notebook - Florence
   x   ADCM1666266-1666682 - 2020-07 - MC Notebook - Lewis
   x   ADCRRM0028193-0028476 - 2020-10 MC Notebook - Eyman-Browning
   x   ADCRRM0028477-0028863 - 2020-10 MC Notebook - Eyman-SMU
   x   ADCRRM0028866-0029231 - 2020-10 MC Notebook - Florence
   x   ADCRRM0029233-0029657 - 2020-10 MC Notebook - Lewis
   x   ADCRRM0031202-0031519 - MC21-01 - Eyman-Browning
   x   ADCRRM0031523-0031861 - MC21-01 - Eyman-SMU
   x   ADCRRM0031863-0032176 - MC21-01 - Florence
   x   ADCRRM0032177-0032538 - MC21-01 - Lewis

Out-of-cell Time Analysis Spreadsheets
   x HORN000126-129 – January 2019 Analysis of Out-of-Cell Time in Max Custody
      Units
   x HORN000122-125 – April 2019 Analysis of Out-of-Cell Time in Max Custody
      Units


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   x HORN000118-121 – July 2019 Analysis of Out-of-Cell Time in Max Custody
     Units
   x HORN000114-117 – October 2019 Analysis of Out-of-Cell Time in Max Custody
     Units
   x HORN000110-113 – January 2020 Analysis of Out-of-Cell Time in Max Custody
     Units
   x HORN000196-109 – April 2020 Analysis of Out-of-Cell Time in Max Custody
     Units
   x HORN000102-105 – July 2020 Analysis of Out-of-Cell Time in Max Custody
     Units
   x HORN000098-101 – October 2020 Analysis of Out-of-Cell Time in Max Custody
     Units
   x HORN000094-97 – January 2021 Analysis of Out-of-Cell Time in Max Custody
     Units

Post Priority Charts
   x ADCM1620623-1620627 - Florence - Current Priority Post Charts
   x ADCM1626684-1626720 - Eyman Tab 2 Priority Post 2018 2 of 2
   x ADCM1626721-1626730 - Eyman Tab 2 Priority Post 2019-2020 1 of 2
   x ADCM1629037-1629042 - Lewis - Post Priority Chart - 03-20-2018
   x ADCM1629043-1629047 - Lewis - Post Priority Chart 07-01-2020

Tour Photos
   x ADCRR00158406-ADCRR00158716 – Sept 2021, ASPC Eyman and ASPC
      Lewis

EIP and Traffic History Documents
   x ADCM1644974-1647197 - Eyman-Browning -- EIP and Traffix Hx
   x ADCM1647198-1648812 - Eyman-SMU -- EIP and Traffic Hx
   x ADCM1648813-1649642 - Florence -- EIP and Traffix Hx
   x ADCM1649643-1651458 - Lewis -- EIP and Traffix Hx

Miscellaneous
   x ADC Count Sheet (9/30/2021)
   x ADCRR Mental Health Technical Manual (Revised 12/24/2019)
   x ADCRR00052183-ADCRR00055817 - Cancellation Reports
   x ADCRR00126200-ADCRR00135967 - Duty Post Logs
   x ADCRRM0034010-0034011 - Exemplar OOCT Form ADC #286650M

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x ADCM1623100 - CONFIDENTIAL - Max_Moves_by_Curlocv2
x ADCM1629150 - CONFIDENTIAL - Max_Moves_by_Curloc_Final_08052020
x ADCM1644934 - Max_analysis_9152020v2 (Step Activity for Max Custody
  Inmates as of 6/30/2020)
x ADCM1644935-1644973 - Max_analysis_9122020v2 (Step Activity for Max
  Custody Inmates as of 6/30/2020)




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Institutional Files for several individuals
   x ADCRR00161613-162189
   x ADCRR00162271-163733




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      EXHIBIT 2
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      EXHIBIT 4
REDACTED AND FILED UNDER SEAL
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                                                                                               January 2021 - Eyman SMU
                                                                                 Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                      Deemed Compliant with   Locations of Rec that
                                  Step    Total Rec Offered   Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused              % Rec Refused        Comments re refusals
                                    1           7h33m                  chute                     0                       0                      y                    chute                      67%           2 of 3 recs refused
                                    1           7h30m                  chute                     0                       0                      y                    chute                     100%           all rec refused
                                    3           7h30m                  chute                     0                       0                      y                    chute                     100%           all rec refused
                                    3           7h30m                  chute                     0                       0                      y                    chute                     100%           all rec refused
                                    3           7h42m                  chute                     0                       0                      y                    chute                      33%           1 of 3 recs refused
                                    3           7h30m                  chute                     0                       0                      y                    chute                     100%           all rec refused
                                    3           7h30m                  chute                     0                       0                      y                    chute                     100%           all rec refused
                                    3           7h35m                  chute                     0                       0                      y                    chute                      67%           2 of 3 recs refused
                                    3           7h30m                  chute                     0                       0                      y                    chute                     100%           all rec refused
                                    3           7h30m                  chute                     0                       0                      y                    chute                     100%           all rec refused
                                    1           7h30m                  chute                    15                       0                      y                    chute                     100%           all OOCT refused
                                    3           7h30m                  chute                    12                       0                      y                    chute                     100%           all OOCT refused
                                    3           7h30m                  chute                    12                       0                      y                    chute                     100%           all OOCT refused
                                    1           7h30m                  chute                    15                       0                      y                    chute                     100%           all OOCT refused
                                    1           7h30m                  chute                    18                       0                      y                    chute                     100%           all OOCT refused
                                    3           7h30m                  chute                    12                       0                      y                    chute                     100%           all OOCT refused
                                    3           7h30m                  chute                    12                       0                      y                    chute                     100%           all OOCT refused
                                    1           7h30m                  chute                    15                       0                      y                    chute                     100%           all OOCT refused
                                    1           7h30m                  chute                    15                       0                      y                    chute                     100%           all OOCT refused
                                    1           7h30m                  chute                    12                       0                      y                    chute                     100%           all OOCT refused
                                                                                                                                            20 of 20                                  Rec Refusal Rate: 93%
                                                                                                                                              100%


Rec in 2.5-hour blocks
SMI Table Time in 3-hour blocks
ADCRRM0031523-31861




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                                                                                                          January 2021 - Lewis Rast
                                                                                          Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                          Deemed Compliant with Locations of Rec that
                                    Step   Total Rec Offered   Locations of Rec Offered         Other OOCT              Programming        Weekly Expectations        was Refused             % Rec Refused               Comments re refusals
                                      2            9h                 all in 10x10                   1                        0                     y                    10x10                    100%            all rec refused
                                      1            9h                 all in 10x10                  16                        4                     y                    10x10                    100%            all OOCT refused
                                      2          9h15m                all in 10x10                1h16m                    1h16m                    y                                              0%             no refusals
                                      1            9h                 all in 10x10                   0                        0                     y                    10x10                    100%            all OOCT refused
                                      3            9h           2 in 10x10; 1 in 45x90               1                        1                     y           2 in 10x10 & 1 in 45x90           100%            all OOCT refused
                                                                                                                                                                                                                  All rec refused; 2 of 3 blocks of
                                                                                                                                                                                                                  table time refused; 3 of 4
                                     1            9h                  all in 10x10                16h16m                   4h16m                       y                  10x10                    100%           programming blocks refused
                                     3            9h                  all in 10x10                   1                       1                         y                  10x10                    100%           all OOCT refused
                                     2            9h                  all in 10x10                1h36m                    1h36m                       y                  10x10                     67%           2 of 3 recs refused
                                     1            9h            2 in 10x10; 1 in 45x90               0                       0                         y          2 in 10x10; 1 in 45x90           100%           all OOCT refused
                                     1            9h                  all in 10x10                   0                       0                         y                  10x10                    67%            2 of 3 recs refused
                                                                                                                                                                                                                  1 block of rec, 2.25 blocks of table
                                     3          9h30m           2 in 10x10; 1 in 45x90            16h16m                   4h16m                       Y                 10x10                      33%           time refused
                                     3            9h                  all in 10x10                16h16m                   4h16m                       Y                                            0%            no refusals
                                     1            9h                  all in 10x10                  16h                      4h                        y                 10x10                     100%           all OOCT refused
                                     1            9h                  all in 10x10                  16h                      4h                        y                 10x10                     100%           all OOCT refused
                                     3            9h                  all in 10x10                  16h                      4h                        y                 10x10                     100%           all OOCT refused
                                     1            9h                  all in 10x10                  16h                      4h                        y                 10x10                     100%           all OOCT refused
                                                                                                                                                                                                                  all OOCT refused except 1 of 3
                                     2            9h                 all in 10x10                   16h                      4h                        y                 10x10                     100%           table time, 2h programming
                                     3            9h                 all in 10x10                   16h                      4h                        y                 10x10                     100%           all OOCT refused
                                     1            9h                 all in 10x10                   16h                      4h                        y                 10x10                     100%           all OOCT refused

                                                                                                                                                                                                                 all OOCT refused except 1 rec that
                                     3          9h25m           2 in 10x10; 1 in 45x90              16h                      4h                      y                   10x10                     33%           happened in large enclosure
                                                                                                                                                  20 of 20                                 Rec Refusal Rate: 80%
                                                                                                                                                   100%

Rec offered in 3-hour blocks
SMI Table time offered in 4-hour blocks
ADCRRM0032177-32538




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                                                                                               January 2021 - Florence Kasson
                                                                                  Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                       Deemed Compliant with   Locations of Rec that
                                   Step    Total Rec Offered   Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused            % Rec Refused          Comments re refusals
                                     3          10h30m                 all 10X10                  0                       0                      y                    10x10                    100%            all rec refused
                                     3          10h30m                 all 10X10                30 m                      0                      y                    10x10                    100%            all rec refused
                                     1          10h30m                 all 10X10                  0                       0                      y                    10x10                    100%            all rec refused
                                     1          10h30m                 all 10X10                  0                       0                      y                    10x10                     67%            2 of 3 recs refused
                                     3          10h30m                 all 10X10                  0                       0                      y                    10x10                     67%            2 of 3 recs refused
                                     2          10h30m                 all 10X10                  0                       0                      y                    10x10                     67%            2 of 3 recs refused
                                     3          10h30m                 all 10X10                  0                       0                      y                    10x10                    100%            all rec refused
                                     1          10h30m                 all 10X10                  0                       0                      y                    10x10                    100%            all rec refused
                                     1          10h30m                 all 10X10                  0                       0                      y                    10x10                     67%            2 of 3 recs refused
                                     3          10h30m                 all 10X10                  0                       0                      y                    10x10                    100%            all rec refused
                                     1          10h30m                 all 10X10                  0                       0                      y                                              0%             no refusals
                                     3          10h30m                 all 10X10                  0                       0                      y                    10x10                    100%            all rec refused
                                     2          10h30m                 all 10X10                  0                       0                      y                    10x10                    100%            all rec refused
                                     3          10h30m                 all 10X10                  0                       0                      y                                              0%             no refusals
                                     3          10h30m                 all 10X10                  0                       0                      y                    10x10                     67%            2 of 3 recs refused
                                     3          10h30m                 all 10X10                  0                       0                      y                    10x10                    100%            all rec refused
                                     3          10h30m                 all 10X10                  0                       0                      y                    10x10                    100%            all rec refused
                                     1          10h30m                 all 10X10                  0                       0                      y                    10x10                    100%            all rec refused
                                     1          10h30m                 all 10X10                  0                       0                      y                    10x10                     33%            1 of 3 recs refused
                                     3          10h30m                 all 10X10                  0                       0                      y                    10x10                     67%            2 of 3 recs refused
                                                                                                                                             20 of 20                                  Rec Refusal Rate: 77%
                                                                                                                                               100%


Rec is in 3.5-hour blocks
SMI Table time is in 2:40 blocks
ADCRRM0031863-32176




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                                                                                                  January 2021 - Eyman Browning
                                                                                     Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                          Deemed Compliant with   Locations of Rec that
                                     Step    Total Rec Offered   Locations of Rec Offered       Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused         Comments re refusals
                                       1             6h                  all chute                   0                       0                      Y                    chute                     50%            1 of 2 recs refused
                                       3            9h3m                 all chute                   0                       0                      Y                    chute                     67%            2 of 3 recs refused
                                       1           6h21m                 all chute                   0                       0                      Y                                              0%             no refusals
                                       1           6h10m                 all chute                   0                       0                      Y                                              0%             no refusals
                                       2             6h                  all chute                   0                       0                      Y                                              0%             no refusals
                                       1             6h                  all chute                   0                       0                      Y                    chute                    100%            all rec refused
                                       1            6h4m                 all chute                   0                       0                      Y                    chute                     50%            1 of 2 recs refused
                                       3             6h                  all chute                   0                       0                      Y                    chute                    100%            all rec refused
                                       1             6h                  all chute                   0                       0                      Y                    chute                     50%            1 of 2 recs refused
                                       1           6h31m                 all chute                   0                       0                      Y                                              0%             no refusals
                                       1           6h10m                 all chute                   0                       0                      Y                                              0%             no refusals
                                       1            9h2m                 all chute                   0                       0                      Y                    chute                     33%            1 of 3 recs refused

                                                                                                                                                                                                                  1 of 3 recs refused, 2h
                                      1            9h4m                  all chute                   2                       0                       Y                   chute                      33%           out of cell as porter
                                      1            6h8m                  all chute                   0                       0                       Y                   chute                      50%           1 of 2 recs refused
                                      1             9h                   all chute                   0                       0                       Y                   chute                     100%           all rec refused
                                      3           9h13m                  all chute                   0                       0                       Y                   chute                      67%           2 of 3 recs refused
                                      1             6h                   all chute                   0                       0                       Y                   chute                     100%           all rec refused
                                      1            6h3m                  all chute                   0                       0                       Y                   chute                      50%           1 of 2 recs refused
                                      1            9h2m                  all chute                   0                       0                       Y                   chute                      33%           1 of 3 recs refused
                                      1           9h18m                  all chute                   0                       0                       Y                   chute                      33%           1 of 3 recs refused
                                                                                                                                                  20 of 20                                Rec Refusal Rate: 46%
                                                                                                                                                   100%
Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
ADCRRM0031202-31519




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                                                                                                     October 2020 - Eyman SMU
                                                                                       Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                      Deemed Compliant with   Locations of Rec that
                                 Step   Total Rec Offered   Locations of Rec Offered        Other OOCT             Programming         Weekly Expectations        was Refused            % Rec Refused                  Comments re refusals
                                                                                                                                                                                                              all rec refused, all smi table time
                                  3           10h               3 chute, 1 10x10              14h8m                   2h8m                          Y             chute, 10x10               100%             refused
                                  1         10h36m              3 chute, 1 10x10                 0                       0                          Y                chute                    75%             3/4 recs refused
                                  1           10h               3 chute, 1 10x10                 0                       0                          Y                chute                    75%             3/4 recs refused
                                  3          7h30m              2 chute, 1 10x10               1h5m                    1h5m                         Y             chute, 10x10               100%             all rec refused
                                  3           10h               3 chute, 1 10x10              1h15m                   1h15m                         Y             chute, 10x10               100%             all rec refused
                                  3          2h30m                   chute                       0                       0                          Y                chute                   100%             rec refused
                                  3          7h30m                   chute                       0                       0                          Y                chute                   67%              refused 2/3 recs
                                  3          7h32m              2 chute, 1 10x10              1h15m                   1h15m                         Y                chute                    67%             refused 2/3 recs

                                  3          10h5m              3 chute, 1 10x10                1h                      1h                          Y                chute                   75%              refused 3/4 recs and 1h programming
                                  3           10h               3 chute, 1 10x10              1h15m                   1h15m                         Y             chute, 10x10               100%             refused all rec
                                                                                                                                                                                                              refused 3/4 recs, all smi table time, all
                                  1          9h55m              3 chute, 1 10x10                11h                     2h                          Y                chute                    75%             programming

                                                                                                                                                                                                              refused 2/3 recs, all smi table time and
                                  3          7h30m              2 chute, 1 10x10                14h                     2h                          Y                chute                   67%              30m programming (returned early)
                                  1          7h30m              2 chute, 1 10x10                11h                     2h                          Y             chute, 10x10               100%             refused all ooct

                                                                                                                                                                                                              refused all rec, all smi table time and
                                  3           10h               3 chute, 1 10x10                11h                     2h                          Y             chute, 10x10               100%             30m programming (returned early)

                                                                                                                                                                                                              refused all rec, all smi table time and
                                  1           10h               3 chute, 1 10x10                11h                     2h                          Y             chute, 10x10               100%             30m programming (returned early)

                                                                                                                                                                                                              refused all rec, all smi table time and
                                  3           10h               3 chute, 1 10x10                11h                     2h                       Y                chute, 10x10                100%            30m programming (returned early)
                                  1          7h30m              2 chute, 1 10x10                11h                     2h                       Y                chute, 10x10                100%            refused all rec and smi table time
                                  1           10h               3 chute, 1 10x10                14h                     2h                       Y                chute, 10x10                100%            refused all ooct
                                  1           10h               3 chute, 1 10x10                11h                     2h                       Y                chute, 10x10                100%            refused all ooct
                                  3           10h               3 chute, 1 10x10                14h                     2h                       Y                chute, 10x10                100%            refused all ooct
                                                                                                                                              20 of 20                                Rec Refusal Rate: 90%
                                                                                                                                               100%



Rec is in 2.5-hour blocks
Table time is in 3 hour blocks
ADCRRM0028477-28863




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                                                                                                          October 2020 - Lewis Rast
                                                                                           Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                          Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered       Other OOCT             Programming          Weekly Expectations        was Refused             % Rec Refused                Comments re refusals
                                       2          9h15m             2 10x10, 1 20x40             1h19m                   1h19m                      Y                    10x10                     33%            refused 1/3 recs
                                       1            9h                   10x10                      0                       0                       Y                    10x10                    100%            refused all rec
                                       3           9h5m             2 10x10, 1 45x90               1h                      1h                       Y                                              0%
                                       3            9h                   10x10                     1h                      1h                       Y                    10x10                    100%            refused all ooct
                                       2          9h10m             2 10x10, 1 20x40              1h9m                    1h9m                      Y                    10x10                     67%            refused 2/3 recs
                                       1            9h                   10x10                      0                       0                       Y                    10x10                    100%            refused all rec
                                       1           9h5m                  10x10                      0                       0                       Y                    10x10                     33%            refused 1/3 recs
                                       1            9h                   10x10                      0                       0                       Y                    10x10                     33%            refused 1/3 recs
                                       1            9h                   10x10                      0                       0                       Y                    10x10                    100%            refused all rec
                                       2          9h10m             2 10x10, 1 20x40             1h31m                   1h31m                      Y                                              0%
                                                                                                                                                                                                                  refused all rec, refused 1/3 smi table
                                      1            9h                    10x10                   16h23m                   4h23m                         Y                10x10                     100%           times
                                      3            9h               2 10x10, 1 45x90             4h27m                    4h27m                         Y                                           0%            all smi table time canceled
                                      3            9h               2 10x10, 1 45x90               16h                      4h                          Y                10x10                      67%           refused 2/3 recs and all other ooct
                                      1            9h                    10x10                     16h                      4h                          Y                10x10                     100%           refused all ooct
                                      3            9h                    10x10                     16h                      4h                          Y                10x10                     100%           refused all ooct

                                      1            9h                    10x10                    16h9m                     4h                          Y                10x10                     100%           refused all ooct except 1 smi table time

                                      1            9h                    10x10                     16h                      4h                          Y                10x10                     100%           refused all ooct except smi table time
                                      1            9h                    10x10                     16h                      4h                          Y                10x10                     100%           refused all ooct

                                                                                                                                                                                                                  refused all rec and programming.
                                                                                                                                                                                                                  Refused 1/3 smi table times and came
                                      3            9h                    10x10                     16h                      4h                          Y                10x10                     100%           back 2.5hrs early from another.

                                                                                                                                                                                                                  refused 2/3 recs, 2/4 programming.
                                                                                                                                                                                                                  Refused 2/3 smi table times and
                                      2          9h5m                    10x10                   16h26m                   4h26m                     Y                    10x10                      67%           returned 2h early from the last.
                                                                                                                                                 20 of 20                                 Rec Refusal Rate: 70%
                                                                                                                                                  100%



Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
ADCRRM0029233-29657




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                                                                                                        October 2020 - Florence Kasson
                                                                                           Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                           Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered         Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused                Comments re refusals
                                                                                                                                                                                                                   refused 1/3 recs, all other ooct
                                      1         10h30m                   10x10                        0                       0                         Y                 10x10                     33%            canceled
                                                                                                                                                                                                                   all rec refused, all other ooct
                                      1         10h30m                   10x10                        0                       0                         Y                 10x10                     100%           canceled
                                                                                                                                                                                                                   all rec refused, all other ooct
                                      3         10h30m                   10x10                        0                       0                         Y                 10x10                     100%           canceled
                                                                                                                                                                                                                   refused 2/3 recs, all other ooct
                                      3         10h30m                   10x10                        0                       0                         Y                 10x10                     67%            canceled
                                                                                                                                                                                                                   all rec refused, all other ooct
                                      1         10h30m                   10x10                        0                       0                         Y                 10x10                     100%           canceled
                                                                                                                                                                                                                   refused 1/3 recs, all other ooct
                                      3         10h30m                   10x10                        0                       0                         Y                 10x10                     33%            canceled
                                                                                                                                                                                                                   refused 2/3 recs, all other ooct
                                      3         10h33m                   10x10                        0                       0                         Y                 10x10                     67%            canceled
                                                                                                                                                                                                                   all rec refused, all other ooct
                                      1         10h30m                   10x10                        0                       0                         Y                 10x10                     100%           canceled
                                                                                                                                                                                                                   all rec refused, all other ooct
                                      3         10h30m                   10x10                        0                       0                         Y                 10x10                     100%           canceled
                                                                                                                                                                                                                   refused 1/3 recs, all other ooct
                                      1         10h30m                   10x10                        0                       0                         Y                 10x10                     33%            canceled
                                                                                                                                                                                                                   all rec refused, all other ooct
                                      2         10h30m                   10x10                        0                       0                         Y                 10x10                     100%           canceled
                                                                                                                                                                                                                   all rec refused, all other ooct
                                      3         10h30m                   10x10                        0                       0                         Y                 10x10                     100%           canceled
                                                                                                                                                                                                                   refused 2/3 recs, all other ooct
                                      1         10h30m                   10x10                        0                       0                         Y                 10x10                     67%            canceled
                                                                                                                                                                                                                   refused 2/3 recs, all other ooct
                                      3         10h30m                   10x10                        0                       0                         Y                 10x10                     67%            canceled
                                                                                                                                                                                                                   all rec refused, all other ooct
                                      2         10h30m                   10x10                        0                       0                         Y                 10x10                     100%           canceled

                                      2         10h35m                   10x10                        0                       0                         Y                                            0%            went to rec, all other ooct canceled
                                                                                                                                                                                                                   all rec refused, all other ooct
                                      3         10h30m                   10x10                        0                       0                         Y                 10x10                     100%           canceled
                                                                                                                                                                                                                   refused 2/3 recs, all other ooct
                                      3         10h34m                   10x10                        0                       0                         Y                 10x10                     67%            canceled
                                                                                                                                                                                                                   all rec refused, all other ooct
                                      3         10h30m                   10x10                        0                       0                         Y                 10x10                     100%           canceled
                                                                                                                                                                                                                   refused 2/3 recs, all other ooct
                                      1         10h30m                   10x10                        0                       0                      Y                    10x10                      67%           canceled
                                                                                                                                                  20 of 20                                 Rec Refusal Rate: 75%
                                                                                                                                                   100%
Rec is in 3.5-hour blocks
SMI Table time is in 2 hour blocks
ADCRRM0028866-29231




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                                                                                                   October 2020 - Eyman Browning
                                                                                       Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                        Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused              Comments re refusals
                                                                                                                                                                                                                refused 2/3 recs, returned 2h10m
                                      1            9h                    chute                     0                       0                        Y                  chute                     67%            early from last
                                      1           9h3m                   chute                     0                       0                        Y                  chute                     67%            refused 2/3 recs
                                      2          9h19m                   chute                     0                       0                        Y                                             0%
                                      1           9h4m                   chute                     0                       0                        Y                  chute                     67%            refused 2/3 recs
                                      1           9h3m                   chute                     0                       0                        Y                  chute                     67%            refused 2/3 recs
                                      1           9h8m                   chute                     0                       0                        Y                  chute                     67%            refused 2/3 recs
                                      1          6h11m                   chute                     0                       0                        Y                  chute                     50%            refused 1/2 recs
                                      1            6h                    chute                     0                       0                        Y                  chute                     50%            refused 1/2 recs

                                      1          9h12m                   chute                     0                       0                        Y                  chute                     0%             returned early from one rec (48m)
                                      3          10h6m              2 chute, 1 10x10               0                       0                        Y                  chute                     33%            refused 1/3 recs
                                                                                                                                                                                                                refused 2/3 recs, all other ooct
                                      1          9h3m               2 chute, 1 10x10               0                       0                        Y                  chute                     67%            canceled
                                                                                                                                                                                                                refused 2/3 recs, all other ooct
                                      1          9h3m               2 chute, 1 10x10               0                       0                        Y                  chute                     67%            canceled
                                                                                                                                                                                                                refused 2/3 recs, all other ooct
                                      1          9h3m               2 chute, 1 10x10               0                       0                        Y                  chute                     67%            canceled
                                                                                                                                                                                                                refused 2/3 recs, all other ooct
                                      1          9h3m               2 chute, 1 10x10               0                       0                        Y                  chute                     67%            canceled
                                                                                                                                                                                                                refused 2/3 recs, all other ooct
                                      1          9h3m               2 chute, 1 10x10               0                       0                        Y                  chute                     67%            canceled
                                                                                                                                                                                                                refused 2/3 recs, all other ooct
                                      1          9h3m               2 chute, 1 10x10               0                       0                        Y                  chute                     67%            canceled
                                                                                                                                                                                                                refused 2/3 recs, all other ooct
                                      1          9h3m               2 chute, 1 10x10               0                       0                        Y                  chute                     67%            canceled
                                                                                                                                                                                                                refused 2/3 recs, all other ooct
                                      1          9h3m               2 chute, 1 10x10               0                       0                        Y                  chute                     67%            canceled
                                                                                                                                                                                                                refused 2/4 recs, all other ooct
                                      2         12h10m                   chute                     0                       0                        Y                  chute                     50%            canceled
                                                                                                                                                                                                                refused 2/3 recs, all other ooct
                                      2          9h2m                    chute                     0                       0                      Y                    chute                      67%           canceled
                                                                                                                                               20 of 20                                 Rec Refusal Rate: 56%
                                                                                                                                                100%
Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
ADCRRM0028193-28476




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                                                                                                        July 2020 - Eyman SMU
                                                                                       Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                        Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused               Comments re refusals
                                       2          7h30m                  chute                     0                       0                      Y                    chute                    100%            all rec refused
                                       3           5h5m                  chute                     0                       0                      Y                                               0%
                                       3          7h30m                  chute                     0                       0                      Y                    chute                    100%            all rec refused
                                       1          7h30m                  chute                     0                       0                      Y                    chute                    100%            all rec refused
                                       3            5h                   chute                     0                       0                      Y                    chute                    100%            all rec refused
                                       3          5h10m                  chute                     0                       0                      Y                    chute                     50%            1/2 recs refused
                                       3            5h                   chute                     0                       0                      Y                    chute                    100%            all rec refused
                                       3            5h                   chute                     0                       0                      Y                    chute                    100%            all rec refused
                                       3            5h                   chute                     0                       0                      Y                    chute                    100%            all rec refused
                                       3            5h                   chute                     0                       0                      Y                    chute                    100%            all rec refused

                                      3            5h                    chute                    17h                     2h                        Y                  chute                     100%           all rec and smi table time refused
                                                                                                                                                                                                                all rec refused. 2/4 smi table times
                                      3            5h                    chute                    14h                     2h                        Y                  chute                     100%           refused
                                      1            5h                    chute                    17h                     2h                        Y                  chute                     100%           all ooct refused
                                      1            5h                    chute                    17h                     2h                        Y                  chute                     100%           all ooct refused
                                      1            5h                    chute                    17h                     2h                        Y                  chute                     100%           all ooct refused

                                      1          7h30m                   chute                    14h                     2h                        Y                  chute                     100%           all rec and smi table time refused

                                      1          7h30m                   chute                    14h                     2h                        Y                  chute                     100%           all rec and smi table time refused

                                      1            5h                    chute                    14h                     2h                        Y                  chute                     100%           all rec and smi table time refused

                                      2          7h30m                   chute                    14h                     2h                      Y                    chute                     100%           all rec and smi table time refused
                                                                                                                                               19 of 19                                 Rec Refusal Rate: 92%
                                                                                                                                                100%




Rec is in 2.5-hour blocks
SMI Table time is in 3 hour blocks
ADCM1665438-1665791




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                                                                                                                    July 2020 - Lewis Rast
                                                                                                   Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                                  Deemed Compliant with   Locations of Rec that
                                 Step              Total Rec Offered    Locations of Rec Offered        Other OOCT              Programming        Weekly Expectations        was Refused             % Rec Refused              Comments re refusals
                                   3                     9h20m                   45x90                    1h20m                    1h20m                    Y                    45x90                     33%            refused 1/3 recs
                                   3                       9h               2 10x10, 1 45x90               1h25m                   1h25m                    Y                    10x10                     67%            refused 2/3 recs
                                   1                     9h10m                   10x10                       0                        0                     Y                    10x10                     67%            refused 2/3 recs
                                   1                       8                     10x10                       0                        0                     Y                                              0%
                                   3                     7h38m              2 10x10, 1 45x90                 1h                      1h                     Y                                              0%             refused 1h programming
                                   1                       9h                    10x10                       0                        0                     Y                    10x10                    100%            all rec refused
                                   1                     9h10m                   10x10                       0                        0                     Y                                              0%
                                   1                       9h                    10x10                       0                        0                     Y                    10x10                    100%            all rec refused
                                   2                     9h10m              2 10x10, 1 45x90               1h29m                   1h29m                    Y                                               0%
                                   1                       9h                    10x10                      16h                      4h                     Y                    10x10                    100%            all ooct refused
                                   1                       9h                    10x10                      16h                      4h                     Y                    10x10                    100%            all ooct refused
                                   3                     9h10m              2 10x10, 1 45x90              12h30m                     4h                     Y                                              0%

                                                                                                                                                                                                                          refused all rec. refused 1/3 smi table
                                                                                                                                                                                                                          times and returned early (30m and
                                   1                      9h                      10x10                     16h                      4h                         Y                10x10                     100%           2.5h) from remaining two
                                                                                                                                                                                                                          refused 2/3 recs and all
                                                                                                                                                                                                                          programming. Refused 2/3 smi table
                                                                                                                                                                                                                          times and returned 3.5hrs early from
                                   3                    9h15m                2 10x10, 1 45x90               16h                      4h                         Y                10x10                      67%           last one.
                                   3                      9h                      10x10                     16h                      4h                         Y                10x10                     100%           refused all ooct
                                   3                      9h                 2 10x10, 1 45x90               16h                      4h                         Y             10x10, 45x90                 100%           refused all ooct

                                                                                                                                                                                                                          all rec and programming refused. 2/3
                                                                                                                                                                                                                          smi table times refused, last one
                                   1                      9h                      10x10                     16h                      4h                         Y                10x10                     100%           returned 2hrs early
                                   1                     12h                      10x10                     16h                      4h                         Y                10x10                     100%           refused all ooct
                                                                                                                                                                                                                          refused all ooct except for 2hrs
                                   2                      9h                      10x10                     16h                      4h                         Y                10x10                     100%           programming

                                                                                                                                                                                                                          2/4 recs refused. 1/4 programming
                                                                                                                                                                                                                          refused. Returned early from all smi
                                   2                   12h10m                3 10x10, 1 20x40               16h                      4h                      Y*               10x10, 20x40                  50%           table times (1h, 2h, 2h41m)
                                                                                                                                                          20 of 20                                Rec Refusal Rate: 64%
                                                                                                                                                           100%
Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
* Compliance not determined on OOCT form, but counted as compliant on CGAR
ADCM1666266-1666682




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                                                                                                     July 2020 - Florence Kasson
                                                                                      Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                        Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused             Comments re refusals
                                                                                                                                                                                                                all rec refused, all other ooct
                                      2         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      1         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      3         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      3         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                2/3 recs refused. Returned
                                                                                                                                                                                                                early for last rec (1h). All other
                                      3         10h30m                   10x10                     0                       0                          Y                10x10                      67%           ooct canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      3         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      1         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      1         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled

                                                                                                                                                                                                                all rec refused, all other ooct
                                      3         10h30m                   10x10                     3h                      0                          Y                10x10                     100%           canceled. 3h being a porter
                                                                                                                                                                                                                all rec refused, all other ooct
                                      3         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      1         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      1         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                2/3 recs refused, all other ooct
                                      3         10h30m                   10x10                     0                       0                          Y                10x10                      67%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      1         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      1         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      3         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      3         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      3         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                all rec refused, all other ooct
                                      3         10h30m                   10x10                     0                       0                          Y                10x10                     100%           canceled
                                                                                                                                                                                                                2/3 recs refused. Returned
                                                                                                                                                                                                                early for last rec (2.5hrs). All
                                      1         10h30m                   10x10                     0                       0                          Y                10x10                      67%           other ooct canceled.
                                                                                                                                                   20 of 20                             Rec Refusal Rate: 95%
                                                                                                                                                    100%


Rec is in 3.5-hour blocks
SMI Table time is in 2 hour blocks
ADCM1665792-1666265




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                                                                                                     July 2020 - Eyman Browning
                                                                                       Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                        Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused             Comments re refusals
                                       3            9h                   chute                     0                       0                      Y                    chute                    100%            refused all rec
                                       1          9h3m                   chute                     0                       0                      Y                    chute                    67%             refused 2/3 recs
                                       3          9h16m                  chute                     0                       0                      Y                    chute                    33%             refused 1/3 recs
                                       2          9h6m                   chute                     0                       0                      Y                    chute                    33%             refused 1/3 recs
                                       2          9h2m                   chute                     0                       0                      Y                    chute                    67%             refused 2/3 recs
                                       1          9h5m                   chute                     0                       0                      Y                                              0%
                                       1            9h                   chute                     0                       0                      Y                    chute                    100%            refused all rec
                                       2            9h                   chute                     0                       0                      Y                    chute                    33%             refused 1/3 recs
                                       3            9h                   chute                     0                       0                      Y                    chute                    100%            refused all rec
                                       3            9h                   chute                     0                       0                      Y                    chute                    67%             refused 2/3 recs
                                                                                                                                                                                                                refused 1/2 recs, all other ooct
                                      1          6h2m                    chute                     0                       0                        Y                  chute                      50%           canceled
                                                                                                                                                                                                                refused all rec, all other ooct
                                      1            9h                    chute                     0                       0                        Y                  chute                     100%           canceled
                                                                                                                                                                                                                refused 1/2 recs, all other ooct
                                      1            6h                    chute                     0                       0                        Y                  chute                      50%           canceled
                                                                                                                                                                                                                refused 1/2 recs, all other ooct
                                      1          6h3m                    chute                     0                       0                        Y                  chute                      50%           canceled
                                                                                                                                                                                                                refused all rec, all other ooct
                                      1            9h                    chute                     0                       0                        Y                  chute                     100%           canceled
                                                                                                                                                                                                                refused 1/2 recs, all other ooct
                                      1          6h6m                    chute                     0                       0                        Y                  chute                      50%           canceled
                                                                                                                                                                                                                refused 1/3 recs, all other ooct
                                      1          9h3m                    chute                     0                       0                        Y                  chute                      33%           canceled
                                                                                                                                                                                                                refused 1/3 recs, all other ooct
                                      1            9h                    chute                     0                       0                        Y                  chute                      33%           canceled
                                                                                                                                                                                                                refused 1/2 recs, all other ooct
                                      1            6h                    chute                     0                       0                        Y                  chute                      50%           canceled
                                                                                                                                                                                                                refused all rec, all other ooct
                                      1            9h                    chute                     0                       0                       Y                   chute                     100%           canceled
                                                                                                                                                20 of 20                                Rec Refusal Rate: 61%
                                                                                                                                                 100%




Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
ADCM1665113-1665437




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                                                                                                    April 2020 - Eyman SMU
                                                                                    Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                         Deemed Compliant with   Locations of Rec that
                                     Step    Total Rec Offered   Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused         % Rec Refused     Comments re refusals
                                       1           7h30m                  chute                     0                       0                      Y                    chute                100%        all rec refused
                                       3           7h30m                  chute                     0                       0                      Y                    chute                100%        all rec refused
                                       3           7h30m                  chute                     0                       0                      Y                    chute                100%        all rec refused
                                       1           7h40m                  chute                     0                       0                      Y                    chute                 67%        2/3 recs refused
                                       3           7h31m                  chute                     0                       0                      Y                    chute                 67%        2/3 recs refused
                                       3           7h30m                  chute                     0                       0                      Y                    chute                100%        all rec refused
                                       1           7h30m                  chute                     0                       0                      Y                    chute                100%        all rec refused
                                       3           7h30m                  chute                     0                       0                      Y                    chute                100%        all rec refused
                                       3           7h30m                  chute                     0                       0                      Y                    chute                100%        all rec refused
                                       3           7h30m                  chute                     0                       0                      Y                    chute                100%        all rec refused
                                                                                                                                                                                                         all rec refused, only non-
                                      2           7h30m                   chute                    5h                      2h                       Y                   chute                100%        canceled SMI table time
                                                                                                                                                                                                         refused
                                                                                                                                                                                                         all non-canceled ooct
                                      1           7h30m                   chute                    5h                      2h                       Y                   chute                100%
                                                                                                                                                                                                         refused
                                                                                                                                                                                                         all non-canceled ooct
                                      1           7h30m                   chute                    5h                      2h                       Y                   chute                100%
                                                                                                                                                                                                         refused
                                                                                                                                                                                                         all non-canceled ooct
                                      2           7h30m                   chute                    23h                     2h                       Y                   chute                100%
                                                                                                                                                                                                         refused
    Compliance Ratio                                                                                                                             14 of 14          Rec Refusal Rate:         95%
    Compliance Rate                                                                                                                               100%


Rec is in 2.5-hour blocks
SMI Table time is in 3 hour blocks
ADCRM1660578-1660840




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                                                                                                                 April 2020 - Lewis Rast
                                                                                                Maximum Custody Notebooks, Out-of-Cell-Time Tracking Forms

                                                                                                                                                  Deemed Compliant with   Locations of Rec that
                                  Step               Total Rec Offered    Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused             Comments re refusals
                                    2                        9h                    10x10                     1h                     1h                      Y                    10x10                     67%            2/3 recs refused
                                    1                        9h                    10x10                      0                      0                      Y                    10x10                    100%            all rec refused
                                    1                        9h                    10x10                      0                      0                      Y                    10x10                    100%            all rec refused
                                    3                        9h               2 10x10, 1 45x90               1h                     1h                      Y                    10x10                     67%            2/3 recs refused
                                    1                        9h                    10x10                      0                      0                      Y                    10x10                    100%            all rec refused
                                    3                        9h               2 10x10, 1 45x90               1h                     1h                      Y                    10x10                     67%            2/3 recs refused
                                    3                        9h                    10x10                     1h                     1h                      Y                    10x10                    100%            all rec refused
                                    3                        9h                    10x10                    16h                     4h                      Y                    10x10                    100%            all ooct refused
                                    3                      9h10m              2 10x10, 1 45x90               1h                     1h                      Y                    10x10                     67%            2/3 recs refused
                                    3                        9h               2 10x10, 1 45x90               1h                     1h                      Y                    10x10                     67%            2/3 recs refused
                                                                                                                                                                                                                          all rec and 2/4 programming
                                    1                       9h                      10x10                 3h48m                   3h48m                         N                10x10                     100%           refused
                                                                                                                                                                                                                          all rec and smi table time
                                                                                                                                                                                                                          refused, 2/4 programming
                                    3                       9h                      10x10                 15h40m                  3h40m                        Y*                10x10                     100%           refused
                                                                                                                                                                                                                          all rec and smi table time
                                    1                       9h                      10x10                 15h40m                  3h40m                        Y*                10x10                     100%           refused

                                    1                       9h                      10x10                   16h                     4h                          Y                10x10                     100%           all ooct refused except one rec
                                    3                       9h                      10x10                   16h                     4h                          Y                10x10                     100%           all ooct refused
                                                                                                                                                                                                                          1/3 recs refused, 1/3 smi table
                                                                                                                                                                                                                          times refused and refused 1hr
                                                                                                                                                                                                                          each of the other two smi table
                                    1                       9h                      10x10                 16h5m                    4h5m                         Y                10x10                      33%           times
                                                                                                                                                                                                                          1/4 programming refused, all
                                    1                     9h5m                      10x10                   16h                     4h                          Y                                           0%            smi table time refused
                                                                                                                                                                                                                          2/3 recs refused, 1/4
                                                                                                                                                                                                                          programming refused, all smi
                                    3                       9h                      10x10                 15h40m                  3h40m                         N                10x10                      67%           table time refused
                                                                                                                                                                                                                          2/3 recs refused, 3/4
                                                                                                                                                                                                                          programming refused, all smi
                                    1                       9h                      10x10                   16h                     4h                          Y                10x10                      67%           table time refused
                                    2                       9h                      10x10                   16h                     4h                          Y                10x10                     100%           all ooct refused
                                                                                                                                                             18 of 20                             Rec Refusal Rate: 80%
                                                                                                                                                               90%


Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
* On OOCT form, no determination of compliance, but counted as compliant for CGAR
ADCM1661463-1661782




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                                                                                                     April 2020 - Florence Kasson
                                                                                       Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                    Deemed Compliant with   Locations of Rec that
                                 Step   Total Rec Offered   Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused                 Comments re refusals
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  2         10h36m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  1         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  1         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  3         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                            1/3 recs refused, all other ooct canceled
                                  2         10h34m                   10x10                     0                       0                       Y                   10x10                      33%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  3         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  2         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  3         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  3         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  1         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  1         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                            2/3 recs refused, all other ooct canceled
                                  1         10h30m                   10x10                     0                       0                       Y                   10x10                      67%
                                                                                                                                                                                                            2/3 recs refused, all other ooct canceled
                                  2         10h30m                   10x10                     0                       0                       Y                   10x10                      67%
                                                                                                                                                                                                            2/3 recs refused, all other ooct canceled
                                  3         10h30m                   10x10                     0                       0                       Y                   10x10                      67%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  1         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  1         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  1         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  3         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                             all rec refused, all other ooct canceled
                                  3         10h30m                   10x10                     0                       0                       Y                   10x10                     100%
                                                                                                                                                                                                            2/3 recs refused, all other ooct canceled
                                  1         10h45m                   10x10                     0                       0                       Y                   10x10                      67%
                                                                                                                                            20 of 20                                Rec Refusal Rate: 90%
                                                                                                                                             100%



 Rec is in 3.5-hour blocks
Table time is in 2 hour blocks
ADCM1660841-1661462




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                                                                                                 April 2020 - Eyman Browning
                                                                                   Maximum Custody Notebooks Out-of-Cell Time Tracking Forms

                                                                Locations of Rec                                              Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered       Offered          Other OOCT             Programming        Weekly Expectations        was Refused             % Rec Refused                    Comments re refusals
                                       3          9h34m         2 chute, 1 20x40          0                       0                     Y                    chute                    33%             1/3 recs refused
                                       2            0                                     0                       0                     Y                                              N/A            all ooct canceled (IR # in comments)
                                       1            0                                     0                       0                     Y                                              N/A            all rec canceled (IR # in comments)
                                       1            0                                     0                       0                     Y                                              N/A            all rec canceled (IR # in comments)
                                                                                                                                                                                                      all ooct canceled except one rec (IR # in
                                      2          3h10m               chute                0                      0                       Y                   chute                     0%             comments)
                                      1          6h13m               chute                0                      0                       Y                   chute                     0%             returned 1h55m early from one rec
                                      3            0                                      0                      0                       Y                                             N/A            all ooct canceled (IR # in comments)
                                                                                                                                                                                                      all ooct canceled except two recs. One
                                      3            6h                chute                0                      0                       Y                   chute                     50%            refused, one returned 2h15m early
                                                                                                                                                                                                      all ooct canceled except one rec which was
                                      3            3h                chute                0                      0                       Y                   chute                     100%           refused
                                      1            6h                chute                0                      0                       Y                                             100%           all rec refused, one canceled
                                                                                                                                                                                                      all ooct canceled except one rec which was
                                      1            3h                chute                0                      0                      N/A                  chute                     100%           refused
                                                                                                                                                                                                      all ooct canceled except two recs, one of
                                      1            6h                chute                0                      0                       Y                   chute                     50%            which was refused
                                                                                                                                                                                                      all ooct canceled except two recs, one of
                                      1          6h4m                chute                0                      0                       Y                   chute                     50%            which was refused
                                                                                                                                                                                                      all ooct canceled except one rec, which was
                                      1            3h                chute                0                      0                       Y                   chute                     100%           refused
                                                                                                                                                                                                      all ooct canceled except one rec, which was
                                      1            3h                chute                0                      0                       Y                   chute                     100%           refused
                                                                                                                                                                                                      all ooct canceled except two recs, one of
                                      1          6h2m                chute                0                      0                       Y                   chute                     50%            which was refused
                                                                                                                                                                                                      all ooct canceled except one rec, which was
                                      1            3h                chute                0                      0                       Y                   chute                     100%           refused
                                                                                                                                                                                                      all ooct canceled except one rec, which was
                                      3            3h                chute                0                      0                       Y                   chute                     100%           refused
                                                                                                                                                                                                      all ooct canceled except one rec, which was
                                      1            3h                chute                0                      0                       Y                   chute                     100%           refused
                                                                                                                                                                                                      all ooct canceled except two recs, one of
                                      1          6h2m                chute                0                      0                       Y                   chute                      50%           which was refused
                                                                                                                                      20 of 20                                Rec Refusal Rate: 68%
                                                                                                                                       100%
Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
ADCM1660168-1660577




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                                                                                                     January 2020 - Eyman SMU
                                                                                      Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                        Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused            % Rec Refused              Comments re refusals
                                       1           7.5h             2 chute, 1 10x10               0                       0                      Y                 chute, 10x10               100%             all rec refused
                                       3         10h15m             3 chute, 1 45x90            1h10m                   1h10m                     Y                    chute                    75%             3/4 recs refused
                                       3          7h40m             2 chute, 1 45x90            1h20m                   1h20m                     Y                    chute                    67%             2/3 recs refused
                                       3          7h53m             2 chute, 1 45x90            1h12m                   1h12m                     Y                    chute                    67%             2/3 recs refuesd
                                       3         10h43m             3 chute, 1 45x90            1h20m                   1h20m                     Y                    chute                    75%             3/4 recs refused
                                       3          8h2m              2 chute, 1 45x90            1h10m                   1h10m                     Y                    chute                    67%             2/3 recs refused
                                       1          9h43m             3 chute, 1 10x10               0                       0                      Y                    chute                    75%             3/4 recs refused
                                       3         12h38m             4 chute, 1 45x90            1h10m                   1h10m                     Y                    chute                    80%             4/5 recs refused
                                       2           7.5h                 all chute                  0                       0                      Y                    chute                   100%             all rec refused
                                       3          7h48m             2 chute, 1 45x90            1h15m                   1h15m                     Y                    chute                    67%             2/3 recs refused
                                                                                                                                                                                                                all rec refused, all SMI table
                                                                                                                                                                                                                time refused, 2h programming
                                      3           7.5h                  all chute               19h10m                  4h10m                         Y                chute                   100%             refused
                                                                                                                                                                                                                all rec refused, 6hrs SMI table
                                      3            5h                   all chute               19h56m                  4h10m                         Y                chute                    100%            time refused
                                      1            5h                   all chute                 19h                     4h                          Y                chute                    100%            all OOCT time refused
                                      1            5h                   all chute                 19h                     4h                          Y                chute                    100%            all OOCT time refused
                                                                                                                                                   14 of 14                             Rec Refusal Rate: 84%
                                                                                                                                                     95%
Rec is in 2.5-hour blocks
SMI Table time is in 3 hour blocks
ADCM1636983-1637223




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                                                                                                          January 2020 - Lewis Rast
                                                                                           Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                         Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered      Other OOCT              Programming         Weekly Expectations        was Refused             % Rec Refused                  Comments re refusals
                                       1            9h                   10x10                     0                        0                      Y                    10x10                    100%            all rec refused
                                       3            9h                   10x10                     1                        1                      Y                    10x10                    100%            all ooct refused
                                       2          6h18m                  10x10                     1                        1                      Y                                              0%             programming refused
                                       2          9h14m             2 10x10, 1 20x40               1                        1                      Y                                              0%             programming refused
                                       1          9h11m             2 10x10, 1 45x90               1                        1                      Y                    10x10                     33%            1/3 recs refused
                                       1            6h                   10x10                     0                        0                      Y                    10x10                    100%            all rec refused

                                      3            9h                    10x10                   3h24m                      1                       Y                   10x10                     100%           all rec and programming refused, had visit
                                      1            6h                    10x10                      0                       0                       Y                   10x10                     100%           all rec refused
                                      1            6h                    10x10                      0                       0                       Y                   10x10                     100%           all rec refused
                                      3            6h                    10x10                    4h9m                      1                       Y                                              0%            no refusals, one visit
                                      1            9h                    10x10                     24h                     4h                       Y                   10x10                     100%           refused all ooct
                                      1          6h21m                   10x10                   4h11m                   4h11m                      N                                              0%            refused one hour of programming
                                      2            9h                    10x10                     20h                     4h                       Y                   10x10                     100%           all ooct refused
                                                                                                                                                                                                                 2/3 recs refused, 3/5 smi table times
                                      1          9h3m                    10x10                   23h1m                   3h11m                      Y                   10x10                      67%           refused, 1/3 programming refused
                                                                                                                                                                                                                 all rec refused, 1/4 programming refused,
                                      1            9h                    10x10                  23h51m                   4h11m                      Y                   10x10                     100%           2/5 smi table time refused

                                      3          9h13m              2 10x10, 1 45x90            28h40m                   4h11m                      Y                                              0%            2/5 smi table times refused, had one visit
                                      3            6h                    10x10                    16h                      4h                       Y                   10x10                     100%           all ooct refused
                                                                                                                                                                                                                 1/2 recs refused, 3/4 programming
                                      2            6h               1 10x10, 1 20x40            25h30m                     4h                       Y                   10x10                      50%           refused, 1/4 smi table time refused
                                                                                                                                                                                                                 all rec refused, 1/4 programming refused,
                                      3            6h                    10x10                  16h33m                   4h33m                      Y                   10x10                     100%           all smi table time refused
                                                                                                                                                                                                                 all rec refused, 1/4 programming refused,
                                      3            6h                    10x10                  20h33m                   4h33m                      Y                   10x10                     100%           3/4 SMI table time refused
                                                                                                                                                 19 of 20                                Rec Refusal Rate: 68%
                                                                                                                                                   95%
Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
ADCM1637761-1638125




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                                                                                                       January 2020 - Florence Kasson
                                                                                          Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                          Deemed Compliant with     Locations of Rec that
                                    Step   Total Rec Offered   Locations of Rec Offered         Other OOCT              Programming        Weekly Expectations          was Refused               % Rec Refused             Comments re refusals

                                                                                                                                                                                                                      refused 1/3 recs, returned early
                                                                                                                                                                                                                      from 1/3 recs (2.5hrs early).
                                      1        10h30m                 all 10x10                   16h16m                   4h14m                       Y                    10x10                       33%           Returned 1hr early from table time
                                      1        10h30m                 all 10x10                     14h                      4h                        Y                    10x10                      100%           all ooct time refused

                                                                                                                                                                                                                      refused 2/3 recs, returned early
                                      3        10h30m             2 10x10, 1 45x90                  20h                      4h                        Y          0x10, 45x90 (returned ear            67%            from 1/3 recs (1.75hrs early)
                                                                                                                                                                                                                      refused all ooct time except for
                                      1        10h30m             2 10x10, 1 45x90                  14h                      4h                        Y              2 10x10, 1 45x90                 100%           1hr15m of smi table time

                                                                                                                                                                                                                      refused all rec and all smi table
                                      2        10h30m             1 10x10, 2 20x40                  16h                      4h                        Y              1 10x10, 2 20x40                 100%           time. Attended all programming.
                                                                                                                                                                                                                      refused all rec. refused 2h
                                                                                                                                                                                                                      programming. Refused 8hrs SMI
                                      1        10h30m                 all 10x10                     14h                      4h                        Y                    10x10                      100%           table time.

                                                                                                                                                                                                                      refused all rec. returned early from
                                      3        10h30m             2 45x90, 1 10x10                 20h9m                   4h9m                        Y              2 45x90, 1 10x10                 100%           one SMI table time (1.5hrs)
                                                                                                                                                                                                                      refused all rec. refused 4/6 SMI
                                      3        10h30m             2 45x90, 1 10x10                 20h9m                   4h9m                        Y              2 45x90, 1 10x10                 100%           table times.
                                                                                                                                                                                                                      refused all rec, refused 5/6 SMI
                                      3        10h30m             2 45x90, 1 10x10                  20h                      4h                        Y              2 45x90, 1 10x10                 100%           table times
                                      1        10h30m                 all 10x10                     14h                      4h                        Y                   10x10                       100%           all ooct time refused
                                      1        10h30m                 all 10x10                     14h                      4h                        Y                   10x10                       100%           all ooct time refused
                                                                                                                                                                                                                      all rec refused, 5/6 SMI table times
                                      3        10h30m             2 45x90, 1 10x10                20h10m                   4h10m                       Y              2 45x90, 1 10x10                 100%           refused.
                                                                                                                                                                                                                      all rec refused, 5/6 SMI table times
                                      3        10h30m             2 10x10, 1 45x90                  20h                      4h                        Y              2 10x10, 1 45x90                 100%           refused.
                                                                                                                                                                                                                      2/3 recs refused, 1/3 recs returned
                                      3        10h30m             2 10x10, 1 45x90                  20h                      4h                        Y              2 10x10, 1 45x90                 67%            early (1h42m).
                                                                                                                                                                                                                      all rec refused, 2hrs programming
                                      3        10h30m             2 10x10, 1 45x90                 21h5m                     4h                        Y              2 10x10, 1 45x90                 100%           refused
                                                                                                                                                                                                                      2/3 recs refused, 4/6 smi table
                                      2        10h30m             2 10x10, 1 45x90                 16h1m                   4h1m                        Y                    10x10                      67%            times refused

                                                                                                                                                                                                                      all rec refused, returned early from
                                      3        10h30m             2 45x90, 1 10x10                 20h9m                   4h9m                        Y              2 45x90, 1 10x10                 100%           one SMI table time (1.5hrs early)
                                                                                                                                                                                                                      all rec refused, 2h programming
                                      3        10h30m             2 45x90, 1 10x10                 20h9m                   4h9m                        Y              2 45x90, 1 10x10                 100%           refused
                                                                                                                                                                                                                      all rec refused, 2hrs programming
                                                                                                                                                                                                                      refused, 4/5 SMI table times
                                      1        10h30m             2 10x10, 1 45x90                  15h                      4h                        Y              2 10x10, 1 45x90                 100%           refused

                                                                                                                                                                                                                      2 recs refused, 1 returned 2.5hrs
                                                                                                                                                                                                                      early. out for porter job. Attends
                                                                                                                                                                                                                      all SMI table time but returns early
                                      3        10h30m                 all 45x90                   27h44m                   4h14m                     Y                      45x90                       67%           twice and refuses 2 total hours
                                                                                                                                                  20 of 20                                    Rec Refusal Rate: 90%
                                                                                                                                                    95%
Rec is in 3.5-hour blocks
SMI Table time is in 2 and 3 hour blocks
ADCM1637224-1637760




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                                                                                                        January 2020 - Eyman Browning
                                                                                           Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                          Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered        Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused                 Comments re refusals
                                                                                                                                                                                                                  2/3 recs refused. Programming
                                      2          9h5m             2 chute, one 10x10                 1                       1                          Y                chute                      67%           refused
                                      3           6h                   all chute                     0                       0                          Y                chute                     100%           all rec refused
                                                                                                                                                                                                                  one rec refused, one returned early
                                      1            6h                  all chute                    0                        0                          Y                chute                     50%            (2h14m refused)
                                      1            6h                  all chute                  2h10m                      0                          Y                chute                     100%           all rec refused, one visit
                                                                                                                                                                                                                  one rec refused, one returned early
                                      2          9h35m            2 chute, one 10x10                 0                       0                          Y                chute                      33%           (says 1h13m refused)
                                      1            6h                  all chute                     0                       0                          Y                chute                     100%           all rec refused
                                      1            9h                  all chute                     0                       0                          Y                chute                     100%           all rec refused
                                      1            6h                  all chute                     0                       0                          Y                chute                     100%           all rec refused
                                      1            6h                  all chute                     0                       0                          Y                chute                     100%           all rec refused
                                      1           6h9m                 all chute                     0                       0                          Y                chute                     50%            1/2 recs refused

                                                                                                                                                                                                                  1/3 recs refused, 3/4 programming
                                      3          9h8m             2 chute, one 10x10              16h52m                  5h22m                         Y                chute                     33%            refused, 7h SMI table time refused
                                                                                                                                                                                                                  1/2 recs refused, no other OOCT
                                      1          6h12m                 all chute                  16h40m                  4h25m                         Y                chute                     50%            refused
                                                                                                                                                                                                                  1/3 recs refused, all programming
                                      1          9h12m                 all chute                  16h15m                    4h                          Y                chute                     33%            refused
                                                                                                                                                                                                                  1/4 recs refused, 2hrs programming
                                      2          9h12m            2 chute, two 10x10              16h28m                  4h24m                         Y                chute                      25%           refused
                                      1           6h9m                 all chute                  16h21m                    4h                          Y                                           0%            refused all programming
                                      1           6h7m                 all chute                  16h48m                  4h25m                         Y                                           0%            no refusals
                                      1            6h                  all chute                    15h                     4h                          Y                chute                     100%           all OOCT time refused
                                                                                                                                                                                                                  all rec refused, one hour
                                      1            6h                  all chute                  16h46m                  4h21m                         Y                chute                     100%           programming refused
                                                                                                                                                                                                                  1/3 recs refused, 2hrs programming
                                      1          9h15m                 all chute                  16h47m                  4h20m                         Y                chute                     33%            refused
                                                                                                                                                                                                                  2/3 recs refused, 2hrs programming
                                      1          9h10m                 all chute                  16h46m                  4h20m                      Y                   chute                      67%           refused
                                                                                                                                                  20 of 20                                Rec Refusal Rate: 62%
                                                                                                                                                   100%
Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
ADCM163




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                                                                                                 October 2019 - Eyman SMU
                                                                                   Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                     Deemed Compliant with   Locations of Rec that
                                 Step   Total Rec Offered   Locations of Rec Offered      Other OOCT              Programming         Weekly Expectations        was Refused             % Rec Refused             Comments re refusals
                                   2           10h              3 chute, 1 20x40            1h20m                    1h20m                    yes                chute, 20x40                100%            3/3 rec refused
                                   3         10h21m             3 chute, 1 45x90              1h                       1h                     yes                   chute                     67%            2/3 rec refused
                                   3          10h8m             3 chute, 1 45x90              1h                       1h                     yes                   chute                     67%            2/3 rec refused
                                   3           10h              3 chute, 1 45x90              1h                       1h                     yes                   chute                    100%            2/2 rec refused
                                   3           10h                   chute                    1h                       1h                     yes                   chute                    100%            2/2 rec refused
                                   1          10h4m             3 chute, 1 10x10               0                        0                     yes                   chute                     67%            2/3 rec refused
                                   3           10h              3 chute, 1 45x90              1h                       1h                     yes                chute, 45x90                100%            3/3 rec refused
                                   1         10h15m             3 chute, 1 10x10               0                        0                     yes                   chute                     67%            2/3 rec refused
                                   3         10h14m             3 chute, 1 45x90              1h                       1h                     yes                   chute                     75%            3/4 rec refused
                                   3         10h18m             3 chute, 1 45x90            1h20m                    1h20m                    yes                   chute                     67%            2/3 rec refused
                                                                                                                                                                                                             3/3 rec, 2/4 programming, all
                                  3           10h               3 chute, 1 45x90             24h26m                    4h                         yes               chute                     100%           table time refused
                                  1           10h               3 chute, 1 10x10               24h                     4h                         yes               chute                     100%           all out-of-cell time refused
                                                                                                                                                                                                             all rec, table time, 2/4
                                  3           10h               3 chute, 1 45x90               22h                     4h                         yes               chute                     100%           programming refused
                                                                                                                                                                                                             all table time, 2/4 rec,
                                  1         10h19m              3 chute, 1 10x10               25h                     4h                         yes               chute                     100%           programming refused
                                                                                                                                                                                                             3/4 programming, all rec, table
                                  1           10h                    chute                     25h                     4h                         yes               chute                     100%           time refused
                                  1           10h               3 chute, 1 10x10               25h                     4h                         yes            chute, 10x10                 100%           all out-of-cell time refused
                                                                                                                                                16 of 16                             Rec Refusal Rate: 88%
                                                                                                                                                 100%
 Rec is in 2.5-hour blocks
Table time is in 3 hour blocks
ADCM1612773-1613057




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                                                                                                      October 2019 - Lewis Rast
                                                                                       Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                         Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered        Other OOCT            Programming         Weekly Expectations        was Refused             % Rec Refused            Comments re refusals
                                       3          9h10m             1 10x10, 2 45x90                1h                     1h                     yes                   45x90                     33%            1/3 rec refused
                                                                                                                                                                                                                 1/3 rec, 1/1 programming
                                      2          9h45m              2 10x10, 1 20x40                 1h                    1h                       yes                 10x10                      33%           refused

                                      3          9h40m              2 10x10, 1 45x90       5h50m; 4h50m visitation         1h                       yes                 10x10                      33%           1/3 rec refused
                                      1            9h                    10x10                       0                      0                       yes                 10x10                     100%           all rec refused
                                      1            9h                    10x10                       0                      0                       yes                 10x10                     100%           all rec refused
                                      1            9h                    10x10                       0                      0                       yes                 10x10                     100%           all rec refused
                                      3          9h44m              2 10x10, 1 45x90                 1h                    1h                       yes                 10x10                      33%           1/3 rec refused
                                      1          9h12m                   10x10                        0                     0                       yes                 10x10                      67%           2/3 rec refused
                                      1          9h15m                   10x10                        0                     0                       yes                 10x10                      67%           2/3 rec refused
                                      3            9h                    10x10                       1h                    1h                       yes                 10x10                     67%            2/3 rec refused
                                                                                                                                                                                                                 all table time, 2/3 rec, 3/4
                                      3          9h40m              2 10x10, 1 45x90                14h                    4h                       yes                 10x10                      67%           programming refused
                                                                                                                                                                                                                 all table time, 2/3 rec, 1/4
                                      3          9h40m              2 10x10, 1 45x90              14h30m                 4h30m                      yes                 10x10                      67%           programming refused
                                                                                                                                                                                                                 2/4 programming, all rec, table
                                      1            9h                    10x10                    14h30m                 4h30m                      yes                 10x10                     100%           time refused
                                                                                                                                                                                                                 2/4 table time, all rec,
                                      1            9h                    10x10                    17h55m                   4h                       yes                 10x10                     100%           programming refused
                                                                                                                                                                                                                 2/3 rec, 1/4 programming, 1/5
                                      2            9h               2 10x10, 1 chute              22h59m                 4h30m                      yes                 10x10                      67%           table time refused
                                      2            9h                    10x10                    16h30m                 4h30m                      yes                 10x10                     100%           all rec, table time refused
                                                                                                                                                                                                                 all rec, table time, 3/4
                                      1            9h                    10x10                    22h30m                 4h30m                      yes                 10x10                     100%           programming refused
                                      2            9h                    10x10                      14h                    4h                       yes                 10x10                     100%           all out-of-cell time refused
                                                                                                                                                                                                                 all rec, table time, 2/4
                                      1            9h                    10x10                      14h                    4h                       yes                 10x10                     100%           programming refused

                                      1          9h15m                   10x10                      14h                    4h                     yes                   10x10                      67%           2/3 rec, all table time refused
                                                                                                                                                20 of 20                                 Rec Refusal Rate: 75%
                                                                                                                                                 100%

Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
ADCM1613433-1613704




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                                                                                                October 2019 - Florence Kasson
                                                                                   Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                      Deemed Compliant with   Locations of Rec that
                                 Step   Total Rec Offered   Locations of Rec Offered       Other OOCT              Programming         Weekly Expectations        was Refused             % Rec Refused           Comments re refusals

                                  1         10h30m                   10x10                      14h                     4h                        yes                10x10                     100%           all out-of-cell time refused
                                  2         10h40m                   20x40                    16h23m                  4h23m                       yes                 n/a                       0%            all table time refused

                                  1         10h40m              2 10x10, 1 20x40              14h18m                  4h18m                       yes                10x10                      67%           all table time, 2/3 rec refused
                                                                                                                                                                                                              2/4 programming, all rec,
                                  1         10h30m                   10x10                      14h                     4h                        yes                10x10                     100%           table time refused
                                                                                                                                                                                                              2/5 table time, 1/3 rec, all
                                  1         10h31m                   10x10                    14h9m                     4h                        yes                10x10                      33%           programming refused

                                  3         10h30m                   45x90                    14h11m                  4h11m                       yes                45x90                     100%           all rec, programming refused
                                  1         10h30m              2 45x90, 1 10x10                19h                     4h                        yes                10x10                     33%            1/3 rec refused

                                  3         10h30m              1 10x10, 2 45x90                19h                     4h                        yes             10x10, 45x90                 100%           all rec, 2/5 table time refused
                                  3         10h45m                   45x90                      19h                     4h                        yes                 n/a                       0%            1/5 table time refused

                                  1         10h30m                   10x10                    15h18m                   4h5m                       yes                10x10                     100%           all rec, 3/6 table time refused
                                                                                                                                                                                                              2/4 programming, 2/6 table
                                  2         10h45m                   10x10                    16h53m                  4h10m                       yes                 n/a                       0%            time refused

                                  1         10h30m                   10x10                    14h12m                  4h12m                       yes                10x10                     100%           all rec, 4/5 table time refused

                                  2         10h30m            10x10, 20x40, 45x90             14h12m                  4h12m                       yes             10x10, 45x90                  67%           all table time, 2/3 rec refused
                                                                                                                                                                                                              1/3 rec, 4/5 table time
                                  2         10h30m            10x10, 20x40, 45x90             14h16m                  4h14m                       yes                10x10                      33%           refused
                                                                                                                                                                                                              all rec, programming, 4/5
                                  1         10h30m                   10x10                      14h                     4h                        yes                10x10                     100%           table time refused
                                  2         10h47m                   45x90                    14h13m                  4h13m                       yes                 n/a                       0%            all table time refused
                                  3         10h30m              1 10x10, 2 45x90                19h                     4h                        yes             10x10, 45x90                 100%           all rec, 3/5 rec refused
                                  3         10h30m              1 10x10, 2 45x90                19h                     4h                        yes             10x10, 45x90                 100%           all rec, 2/5 refused
                                                                                                                                                                                                              1/3 rec, 3/5 table time
                                  2         10h30m                   45x90                    15h20m                  4h20m                       yes                45x90                      33%           refused
                                                                                                                                                                                                              all rec, 3/4 programming, 3/5
                                  1         10h30m                   10x10                      14h                     4h                        yes                10x10                     100%           table time refused
                                                                                                                                                20 of 20                              Rec Refusal Rate: 63%
                                                                                                                                                 100%

 Rec is in 3.5-hour blocks
Table time is in 2 hour blocks
ADCM1613058-1613432




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                                                                                                         October 2019 - Eyman Browning
                                                                                             Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                               Deemed Compliant with   Locations of Rec that
                                 Step             Total Rec Offered    Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused             Comments re refusals
                                   1                      9h                    chute                2h visitation                0                     yes                   chute                    67%                       2/3 rec refused
                                   1                    9h6m                    chute                      0                      0                     yes                   chute                    33%             1/3 rec refused
                                   1                      9h                    chute                      0                      0                     yes                   chute                    67%             2/3 rec refused
                                   1                      9h                    chute                      0                      0                     yes                   chute                    67%             2/3 rec refused
                                   3                    12h9m                   chute                      1                      1                     yes                   chute                    50%             2/4 rec refused
                                   3                      9h                    chute                  1h10m                   1h10m                    yes                   chute                    100%            all rec refused
                                   1                      9h                    chute                      0                      0                     yes                   chute                    67%             2/3 rec refused
                                   3                     12h               3 chute, 1 20x40                1                      1                    Yes*                chute, 20x40                 50%            2/4 rec refused
                                   1                      9h                    chute              2h28m visitation               0                     yes                   chute                    67%             2/3 rec refused
                                                                                                                                                                                                                       all rec, 2/3 unstructured time
                                  1                      9h                     chute                  15h56m                  4h30m                        yes               chute                     100%           refused
                                  1                     9h6m                    chute                  17h45m                  4h30m                        yes               chute                      67%           2/3 rec refused
                                  1                     9h3m                    chute                   18h1m                  4h27m                        yes               chute                      67%           2/3 rec refused
                                                                                                                                                                                                                       1/3 rec, 2/3 programming
                                  1                     9h6m                    chute                  17h23m                  4h28m                        yes               chute                      33%           refused
                                                                                                                                                                                                                       2/3 rec, 2/3 programming
                                  1                      9h                     chute                  17h10m                  4h17m                        yes               chute                      67%           refused
                                                                                                                                                                                                                       2/3 rec, 2/3 programming
                                  1                     9h4m                    chute                  17h30m                  4h21m                        yes               chute                      67%           refused
                                                                                                                                                                                                                       all rec, 2/3 programming
                                  1                      9h                     chute                  17h39m                  4h18m                        yes               chute                     100%           refused

                                  1                      9h                     chute                  15h57m                    4h                         yes               chute                     100%           all rec, programming refused
                                                                                                                                                                                                                       all rec, 2/3 programming
                                  1                      9h                     chute                  15h57m                  4h13m                        yes               chute                     100%           refused

                                  1                      9h                     chute                  15h40m                    4h                         yes               chute                     100%           all rec, programming refused
                                  3                      9h                     chute                  1h10m                   1h10m                        yes               chute                      33%           1/3 rec refused
                                                                                                                                                          20 of 20                             Rec Refusal Rate: 70%
                                                                                                                                                           100%
Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
* Compliance not determined on OOCT Form, but counted as compliant on CGAR
ADCM1612443-1612772




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                                                                                                             July 2019 - Lewis Rast
                                                                                            Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                          Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered        Other OOCT             Programming         Weekly Expectations        was Refused            % Rec Refused                   Comments re refusals
                                       2            9h                   10x10                      1h                      1h                     yes                   10x10                   100%             all rec refused
                                       3          9h10m             1 10x10, 2 45x90                1h                      1h                     yes                   10x10                    33%             1/3 rec refused
                                       1         10h15m                  chute                       0                       0                     yes                    n/a                     0%              no refusals
                                       2            9h                   10x10                      1h                      1h                     yes                   10x10                   100%             all out-of-cell time refused
                                       3            9h              2 10x10, 1 45x90                1h                      1h                     yes                   10x10                    67%             2/3 rec refused
                                       1          9h35m                  10x10                       0                       0                     yes                   10x10                    33%             1/3 rec refused
                                       2          9h10m             2 10x10, 1 20x40                1h                      1h                     yes                   10x10                    33%             1/3 rec, 1/1 programming refused

                                      2            9h                    10x10             5h41m, 4h41m visitation          1h                      yes                  10x10                   100%             all rec refused
                                      1          9h40m                   10x10                       0                       0                      yes                   n/a                     0%              no refusals
                                      2            9h               2 10x10, 1 20x40                1h                      1h                      yes                  10x10                    67%             2/3 rec refused
                                                                                                                                                                                                                  all programming, table time, 1/3 rec
                                      3         9h10m               2 10x10, 1 45x90                25h                     4h                      yes                  10x10                    33%             refused
                                      3         10h15m              2 45x90, 1 10x10                25h                     2h                      yes                   n/a                     0%              6/7 table time refused
                                                                                                                                                                                                                  all rec, table time, 1/4 programming
                                      1            9h                    10x10                      25h                     4h                      yes                  10x10                   100%             refused
                                                                                                                                                                                                                  all rec, table time, 1/4 programming
                                      1            9h                    10x10                     16h5m                   4h5m                     yes                  10x10                   100%             refused
                                      1            9h                    10x10                      16h                     4h                      yes                  10x10                   100%             all out-of-cell time refused
                                                                                                                                                                                                                  all rec, table time, 3/4 programming
                                      1            9h                    10x10                     16h5m                   4h5m                     yes                  10x10                   100%             refused
                                                                                                                                                                                                                  all rec, table time, 2/3 programming
                                      1            9h                    10x10                      21h                     3h                      yes                  10x10                   100%             refused
                                      2            9h                    10x10                      22h                     4h                      yes                  10x10                   100%             all out-of-cell time refused
                                      2            9h                    10x10                    16h13m                    4h                      yes                  10x10                   100%             all rec, 2/4 table time refused
                                                                                                                                                                                                                  all programming, 3/4 table time, 2/3 rec
                                      1          9h20m                   10x10                    14h15m                    4h                      yes                  10x10                    67%             refused
                                                                                                                                                  20 of 20                                Rec Refusal Rate: 67%
                                                                                                                                                   100%



Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
 ADCR1593075-1593377




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                                                                                                     July 2019 - Florence Kasson
                                                                                       Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                      Deemed Compliant with   Locations of Rec that
                                 Step   Total Rec Offered   Locations of Rec Offered        Other OOCT              Programming        Weekly Expectations        was Refused             % Rec Refused                Comments re refusals
                                   1         10h30m                  10x10                     16h                       4h                    yes                   10x10                    100%            all out-of-cell time refused
                                                                                                                                                                                                              1/3 rec, 1/4 programming, 4/6 table
                                  3         10h40m                   20x40                     18h6m                   4h6m                     yes                  20x40                     33%            time refused
                                                                                                                                                                                                              1/3rec refused; 1 early return from
                                  3         10h37m                   45x90                    19h32m                   4h13m                    yes                  45x90                     33%            rec, table time
                                  2         10h30m                   45x90                    16h19m                   4h19m                    yes                  45x90                     67%            2/3 rec, 4/6 table time refused
                                                                                                                                                                                                               2 early returns from rec; 2/6 table
                                  3         10h34m                   45x90                    22h34m                   4h17m                    yes                    n/a                      0%            times refused
                                                                                                                                                                                                              all rec, 3/5 table time, 2/4
                                  1         10h30m                  10x10                      14h5m                     4h                     yes                  10x10                     100%           programming refused
                                  3         10h37m             2 20x40, 2 45x90                20h8m                   4h22m                    yes                  20x40                      33%           1/3 rec refused
                                                                                                                                                                                                              all table time, 2/3 rec, 1/4
                                  3         10h30m             2 20x40, 2 45x90                21h1m                   4h31m                    yes               20x40, 45x90                   1%           programming refused
                                  3         10h30m             2 20x40, 1 45x90               19h22m                   4h16m                    yes                  20x40                      67%           2/3 rec refused
                                  1         10h30m                  10x10                     16h15m                   4h10m                    yes                  10x10                     100%           all rec, 1/6 table time refused
                                                                                                                                                                                                              all rec, programming, 5/7 table time
                                  3         10h30m                   20x40                    20h48m                     4h                     yes                  20x40                     100%           refused
                                                                                                                                                                                                              2/4 programming, 5/7 table time
                                  2         10h40m                   20x40                    18h57m                   4h6m                     yes                    n/a                      0%            refused
                                                                                                                                                                                                              1 rec early return, 1 table time early
                                  3         10h37m                   45x90                    20h17m                   4h13m                    yes                   n/a                      0%             return
                                  3         10h35m                   45x90                    20h 51m                  4h19m                    yes                  45x90                     67%            2/3 rec refused
                                                                                                                                                                                                              2/6 table time refused, 2 early
                                  3         10h34m                   45x90                    22h44m                   4h17m                    yes                   n/a                       0%            returns from rec
                                  1         10h35m                   10x10                    16h42m                   6h37m                    yes                  10x10                     67%            2/3 rec, 3/5 table time refused

                                                                                                                                                                                                              2/3 rec (1 early return), 2/4
                                  1         10h30m                   10x10                    14h28m                   4h5m                     yes                  10x10                     67%            programming, 2/5 table time refused
                                                                                                                                                                                                              3/3 rec, 4/5 table time, 1/4
                                  3         10h30m               20x40, 45x90                 21h22m                   4h16m                    yes               20x40, 45x90                 100%           programming refused
                                                                                                                                                                                                              all rec, table time, 2/4 programming
                                  3         10h30m             2 20x40, 1 45x90               19h22m                   4h22m                    yes               20x40, 45x90                 100%           refused
                                  2         10h30m             2 10x10, 2 20x40               19h26m                    4h9m                    yes               10x10, 20x40                  67%           2/3 rec refused
                                                                                                                                              20 of 20                                Rec Refusal Rate: 55%
                                                                                                                                               100%

Rec is in 3.5-hour blocks
Table time is in 2 hour blocks
ADCM1592549-1593074




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                                                                                                   July 2019 - Eyman Browning
                                                                                     Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                        Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered        Other OOCT           Programming         Weekly Expectations        was Refused            % Rec Refused             Comments re refusals
                                       1            9h                   chute                       0                     0                     yes                   chute                   67%              2/3 rec refused
                                       1          9h10m                  chute                       0                     0                     yes                   chute                    67%             2/3 rec refused
                                       1            9h                   chute                       0                     0                     yes                   chute                   100%             all rec refused

                                      3          12h8m                   10x10             3h31m; 2h15m visitation      1h16m                       yes                10x10                    75%             3/4 rec refused
                                      1            9h                    chute                       0                    0                         yes                chute                   100%             all rec refused
                                      1            9h                    chute                       0                    0                         yes                chute                   67%              2/3 rec refused
                                      2          9h25m                   10x10                     1h13m                1h13m                       yes                 n/a                      0%             no refusals
                                      1            9h                    chute                4h29m visitation            0                         yes                chute                   67%              2/3 rec refused
                                                                                                                                                                                                                all rec, 1/3 table time, 1/4
                                      1            9h                    chute                   15h46m                 4h31m                       yes                chute                   100%             programming refused
                                      1            9h                    chute                2h13m visitation            0                         yes                chute                   100%             all rec refused

                                      1            9h                    chute                    15h50m                4h25m                       yes                chute                   100%             all rec, 1/3 table time refused

                                      1            9h                    chute                     15h2m                4h39m                       yes                chute                   100%             all rec, 1/3 table time refused

                                      1            9h                    chute                      15h                   4h                        yes                chute                   100%             all out-of-cell time refused
                                                                                                                                                                                                                2/3 rec, all table time,
                                      1          9h3m                    chute                      15h                   4h                        yes                chute                    67%             programming refused
                                      1          9h10m                   chute                     16h1m                4h19m                       yes                chute                    33%             1/3 rec refused
                                                                                                                                                                                                                all rec, 2/4 programming
                                      1            9h                    chute                    15h58m                4h20m                       yes                chute                   100%             refused
                                                                                                                                                                                                                all rec, 1/3 table time, 2/4
                                      1            9h                    chute                    15h20m                 4h1m                       yes                chute                   100%             programming refused
                                                                                                                                                                                                                all rec, 1/4 programming
                                      1            9h                    chute                    15h57m                4h28m                       yes                chute                    100%            refused
                                                                                                                                                  18 of 18                              Rec Refusal Rate: 80%
                                                                                                                                                   100%
Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
 ADCM1592061-1592364




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                                                                                                    April 2019 - Eyman SMU
                                                                                    Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                         Deemed Compliant with   Locations of Rec that
                                     Step    Total Rec Offered   Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused         Comments re refusals
                                       2            10h              3 chute, 1 20x40            1h40m                   1h40m                     Y                    chute                     75%            refused 3/4 recs
                                       1            10h              3 chute, 1 10x10               0                       0                      Y                 chute, 10x10                 75%            refused 3/4 recs
                                       1            10h              3 chute, 1 10x10               0                       0                      Y                 chute, 10x10                100%            refused all rec
                                       3           10h2m             3 chute, 1 45x90            1h15m                   1h15m                     Y                    chute                     75%            refused 3/4 recs
                                       3          10h15m             3 chute, 1 45x90            1h27m                   1h27m                     Y                    chute                     75%            refused 3/4 recs
                                                                                                                                                                                                                 refused 3/4 recs and all
                                      3          10h10m              3 chute, 1 45x90              1h                       1h                      Y                   chute                     75%            programming
                                                                                                                                                                                                                 refused 3/4 recs and all
                                      2          10h7m               3 chute, 1 20x40              1h                       1h                      Y                   chute                     75%            programming
                                      1          10h33m              3 chute, 1 10x10               0                        0                      Y                   chute                     75%            refused 3/4 recs
                                      1          9h52m               3 chute, 1 10x10               0                        0                      Y                   chute                     75%            refused 3/4 recs
                                      1          10h16m              3 chute, 1 10x10               0                        0                      Y                   chute                     75%            refused 3/4 recs

                                                                                                                                                                                                                 refused all rec and all
                                                                                                                                                                                                                 programming. Refused
                                      1            10h               3 chute, 1 10x10              25h                     4h                       Y                chute, 10x10                 100%           4/7 smi table times
                                                                                                                                                 11 of 11                                Rec Refusal Rate: 80%
                                                                                                                                                 100.00%
Rec is in 2.5-hour blocks
SMI Table time is in 3 hour blocks
ADCM1578647-1578811




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                                                                                                    April 2019 - Lewis Rast
                                                                                   Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                Locations of Rec                                             Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered       Offered        Other OOCT             Programming         Weekly Expectations        was Refused            % Rec Refused                      Comments re refusals
                                       1          9h3m               10x10               0                      0                      Y                                             0%
                                       3          9h1m          2 10x10, 1 45x90      3h31m                  1h20m                     Y                                             0%              2h11m visit
                                       1            9h               10x10               0                      0                      Y                                             0%
                                       1            9h               10x10               0                      0                      Y                    10x10                   67%              refused 2/3 recs
                                       3          9h42m              10x10            1h44m                    1h                      Y                                             0%
                                       1            9h               10x10               0                      0                      Y                    10x10                   100%             refused all rec
                                       2          11h7m              10x10              1h                     1h                      Y                                             0%              refused programming
                                       3          12h7m         3 10x10, 1 45x90      1h10m                  1h10m                     Y                                             0%
                                       1          11h9m         3 10x10, 1 45x90         0                      0                      Y                                             0%
                                       1            9h               10x10               0                      0                      Y                    10x10                   100%             refused all rec
                                       1            9h               10x10           14h24m                  4h22m                     Y                                             0%              refused 4/5 smi table times
                                       2            9h               10x10             14h                     4h                      Y                    10x10                   100%             refused all ooct

                                      1            9h                10x10           14h20m                  4h20m                     Y                    10x10                   100%             refused all ooct except for 1h20m programming
                                      1          9h28m               10x10           14h40m                  4h40m                     Y                                             0%              refused all smi table time
                                      2            9h           2 10x10, 1 45x90     14h30m                  4h30m                     Y                    10x10                   67%              refused 2/3 recs, all smi table time

                                      3          9h10m               10x10             14h                     4h                      Y                                              0%             refused all smi table time and programming
                                      3          9h2m                10x10           14h10m                  4h10m                     Y                    10x10                    67%             refused 2/3 recs, 1/3 programming
                                                                                                                                                                                                     refused 2/4 recs, all smi table time, 2/3
                                      2           12h                10x10           14h10m                  4h10m                     Y                    10x10                    50%             programming
                                                                                                                                                                                                     refused 3/4 recs, all smi table time and 3/4
                                      1           12h                10x10           14h20m                  4h20m                     Y                    10x10                    75%             programming
                                                                                                                                    19 of 19                                 Rec Refusal Rate: 38%
                                                                                                                                    100.00%


Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
ADCM1579159-1579412




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                                                                                                         April 2019 - Florence Kasson
                                                                                           Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                           Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered         Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused              Comments re refusals
                                                                                                                                                                                                                   2/3 recs refused, left last one 30m
                                      1            8h                    10x10                     13h57m                  3h14m                         Y                10x10                     67%            early

                                                                                                                                                                                                                   refused all rec, 1/3 programming,
                                      1            8h                    10x10                     13h41m                  3h14m                         Y                10x10                     100%           2/5 smi table times

                                      1          8h3m                    10x10                       18h                     3h                          Y                10x10                     75%            refused 3/4 recs and all other ooct
                                                                                                                                                                                                                   refused 3/4 recs and all smi table
                                      3          8h3m                    20x40                     18h45m                  4h45m                         Y                20x40                     75%            time. 2 work hours

                                                                                                                                                                                                                   refused all rec, 1/2 programming,
                                      1            8h                    10x10                     20h42m                  3h20m                         Y                10x10                     100%           4/6 smi table times
                                      1            8h                    10x10                       21h                     3h                          Y                10x10                     100%           refused all ooct

                                                                                                                                                                                                                   refused all rec, all programming
                                                                                                                                                                                                                   and all smi table time. Had 2h16m
                                      3            6h                    20x40                     22h41m                    4h                          Y                20x40                     100%           of visit and 4h25m work
                                                                                                                                                                                                                   refused all rec, all smi table time,
                                      3            6h                    20x40                     17h11m                  5h11m                         Y                20x40                     100%           1/5 programming
                                                                                                                                                                                                                   refused 1/4 recs, 3/5 programming,
                                                                                                                                                                                                                   3/5 smi table times and also
                                                                                                                                                                                                                   returned 58m early from 1 table
                                      3          8h1m                   20x40                      20h5m                   5h5m                          Y                20x40                     25%            time
                                      2          6h22m             2 20x40, 1 45x90                20h29m                  4h28m                         Y                                          0%             refused 2/7 smi table times

                                                                                                                                                                                                                   refused all rec, refused 3/4
                                                                                                                                                                                                                   programming, refused 5/6 smi
                                      3            6h                    20x40                     26h51m                   4h5m                        N/A               20x40                     100%           table times. 10h21m porter work
                                      1            6h                    10x10                       16h                     3h                          Y                10x10                     100%           refused all ooct
                                                                                                                                                                                                                   refused all programming and 3/4
                                      1          7h33m             3 10x10, 1 45x90                  15h                     3h                          Y                                           0%            smi table times
                                                                                                                                                                                                                   refused 2/4 recs and all smi table
                                      3          8h3m                    10x10                     16h54m                  4h54m                         Y                10x10                     50%            time
                                      1           8h                     10x10                       21h                     3h                          Y                10x10                     100%           refused all ooct
                                      2           8h                     20x40                       19h                     4h                          Y                20x40                     100%           refused all ooct
                                                                                                                                                                                                                   refused all rec, refused 1/4
                                                                                                                                                                                                                   programming, refused 3/4 smi
                                      3            6h                    20x40                     24h40m                  4h40m                         Y                20x40                     100%           table times. 9h25m work
                                                                                                                                                                                                                   refused 2/3 recs, refused 3/5 smi
                                      3            6h                    20x40                     26h54m                  5h10m                         Y                20x40                     67%            table times. 8h55m work
                                                                                                                                                                                                                   refused 1/4 recs, 2/5 smi table
                                      1          8h5m                    20x40                     32h28m                  5h43m                      Y                   20x40                      25%           times. 14h work
                                      2          6h7m                    20x40                      19h2m                  4h23m                      Y                   20x40                      67%           refused 2/3 recs
                                                                                                                                                   19 of 19                                Rec Refusal Rate: 73%
                                                                                                                                                   100.00%



Rec is in 3.5-hour blocks
SMI Table time is in 2 hour blocks
ADCM1578812-1579158




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                                                                                                  April 2019, Eyman Browning
                                                                                    Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                         Deemed Compliant with   Locations of Rec that
                                     Step    Total Rec Offered   Locations of Rec Offered      Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused         Comments re refusals
                                                                                                                                                                                                                 all rec refused, had one
                                      1             9h                    chute                  2h15m                      0                       Y                   chute                     100%           visit
                                      3             9h                    chute                    1h                      1h                       Y                   chute                     100%           refused all rec
                                                                                                                                                                                                                 refused 2/3 recs,
                                                                                                                                                                                                                 returned 30m early from
                                      1             9h                    chute                     0                       0                       Y                   chute                      67%           last
                                      1             9h                    chute                     0                       0                       Y                   chute                     100%           refused all rec
                                                                                                                                                                                                                 refused 3/4 recs, all
                                                                                                                                                                                                                 programming. Other ooc
                                      3          12h10m              3 10x10, 1 chute            5h10m                      1h                      Y                10x10, chute                  75%           hrs are porter
                                      1            9h                     chute                    0                        0                       Y                   chute                     100%           refused all rec
                                      1            9h                     chute                    0                        0                       Y                   chute                     100%           refused all rec
                                                                                                                                                                                                                 refused 2/3 recs and
                                                                                                                                                                                                                 returned 1h15m early
                                      1            9h                     chute                     0                      0                        Y                   chute                      67%           from the last
                                      1           9h1m                    chute                     0                      0                        Y                   chute                      67%           refused 2/3 recs
                                      1           9h9m                    chute                     0                      0                        Y                   chute                      67%           refused 2/3 recs
                                      1            9h                2 10x10, 1 chute            16h49m                  4h12m                      Y                10x10, chute                 100%           refused all rec
                                      1            9h                     chute                  16h36m                  3h11m                      Y                   chute                     100%           refused all rec

                                                                                                                                                                                                                 refused 1/3 recs, left one
                                      1           9h8m                    chute                  16h9m                    4h7m                      Y                   chute                     33%            smi table time 34m early
                                      1            9h                     chute                  16h16m                  4h13m                      Y                   chute                     67%            refused 2/3 recs

                                                                                                                                                                                                                 refused all rec, left one
                                      1             9h                    chute                  16h25m                  4h19m                      Y                   chute                     100%           smi table time 48m early
                                      1             9h                    chute                    24h                     4h                       Y                   chute                     100%           refused all ooct
                                                                                                                                                 16 of 16                                Rec Refusal Rate: 84%
                                                                                                                                                 100.00%
Rec is in 3-hour blocks
SMI Table time is in 3 hour blocks
ADCM1578402-1578646




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                                                                                                          January 2019 - Eyman SMU
                                                                                           Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                          Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered        Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused               Comments re refusals
                                       1         10h40m             3 chute, 1 10x10                 0                       0                      Y                    chute                    75%             3/4 recs refused
                                       2         10h30m             3 chute, 1 45x90                1h                      1h                      Y                    chute                    75%             3/4 recs refused
                                                                                                                                                                                                                  refused all rec, 1h programming, 3/4
                                      1         10h30m              3 chute, 1 10x10              16h8m                     4h                          Y             chute, 10x10                 100%           smi table times
                                      3         10h35m              3 chute, 1 45x90              1h10m                   1h10m                         Y                chute                     50%            refused 2/4 recs
                                      3         10h30m              3 chute, 1 45x90               1h2m                    1h2m                         Y                chute                     50%            refused 2/4 recs
                                      3         10h30m              3 chute, 1 45x90              1h12m                   1h12m                         Y                chute                     75%            refused 3/4 recs
                                      3         10h30m              3 chute, 1 45x90                 1h                     1h                          Y                chute                     75%            refused 3/4 recs
                                      3         10h30m              3 chute, 1 45x90                 1h                     1h                          Y                chute                     50%            refused 2/4 recs
                                      1         10h30m              3 chute, 1 10x10                 0                       0                          Y                chute                     75%            refused 3/4 recs
                                      3         10h30m              3 chute, 1 45x90                 1h                     1h                          Y                chute                     75%            refused 3/4 recs
                                      1         10h30m              3 chute, 1 10x10                16h                     4h                          Y             chute, 10x10                 100%           refused all ooct

                                      3         10h30m              3 chute, 1 45x90              16h10m                  4h10m                         Y                chute                     75%            refused 3/4 recs and all smi table time
                                                                                                                                                                                                                  refused 3/4 recs, 2/4 hrs
                                      1         10h30m              3 chute, 1 10x10                16h                     4h                          Y                chute                     75%            programming, all smi table time.
                                                                                                                                                                                                                  refused 3/4 recs, and all other ooct
                                      1         10h30m              3 chute, 1 10x10                18h                     4h                          Y                chute                     75%            except for a visit

                                      1         10h33m              3 chute, 1 45x90                16h                     4h                          Y                chute                     75%            refused 3/4 recs and all other ooct

                                                                                                                                                                                                                  refused 3/4 recs, 2/4 hrs
                                      3         10h30m              3 chute, 1 45x90                16h                     4h                       Y                   chute                      75%           programming and all smi table time
                                                                                                                                                  16 of 16                                Rec Refusal Rate: 73%
                                                                                                                                                   100%
Rec is in 2.5-hour blocks
SMI Table time is in 3 hour blocks
ADCM1569179-1569465




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                                                                                                           January 2019 - Lewis Rast
                                                                                           Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                          Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered        Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused               Comments re refusals
                                       1           6h                    10x10                       0                       0                      Y                    10x10                     50%            refused 1/2 recs
                                       1         6h13m                   10x10                       0                       0                      Y                                              0%
                                       3           6h                    10x10                    1h15m                   1h15m                     Y                    10x10                     50%            refused 1/2 recs
                                       1         9h29m                   10x10                    1h45m                      0                      Y                                               0%            1h45m visit
                                       3           9h                    10x10                    1h30m                   1h30m                     Y                    10x10                    100%            refused all rec
                                       3          9h2m              2 10x10, 1 20x40                1h                      1h                      Y                    10x10                     33%            refused 1/3 recs
                                       3           9h               2 10x10, 1 chute              1h30m                   1h30m                     Y                 10x10, chute                100%            refused all rec
                                       1          6h9m                   10x10                       0                       0                      Y                                              0%
                                       1         9h13m                   10x10                       0                       0                      Y                    10x10                     33%            refused 1/3 recs
                                       1         9h17m                   10x10                       0                       0                      Y                    10x10                     33%            refused 1/3 recs
                                       1           6h                    10x10                     14h                      4h                      Y                    10x10                    100%            refused all ooct
                                                                   1 chute, 1 10x20, 1                                                                                                                            refused all smi table time and 1/3
                                      2          9h2m                    20x40                    14h30m                  4h30m                         Y                                           0%            programming
                                                                   1 chute, 1 10x10, 1
                                      3           9h                     45x90                    15h6m                    5h1m                         Y                10x10                     33%            refused 1/3 recs, 1/5 smi table times
                                      2           9h                     10x10                     14h                      4h                          Y                10x10                     100%           refused all ooct
                                      2          6h4m               1 10x10, 1 20x40               14h                      4h                          Y                                           0%            refused all ooct except for rec
                                                                                                                                                                                                                  refused 1/2 recs, refused all smi table
                                      3            6h              1 10x10, 1 45x90               14h40m                  4h40m                         Y                10x10                     50%            time
                                                                                                                                                                                                                  refused 1/2 recs, 1/5 smi table times,
                                      3          6h5m                    10x10                    14h31m                  4h15m                         Y                10x10                     50%            2/3 programming
                                                                                                                                                                                                                  refused all ooct except 2h
                                      1            9h                    10x1-                    14h20m                  4h20m                     Y                    10x10                     100%           programming
                                                                                                                                                 18 of 18                                 Rec Refusal Rate: 46%
                                                                                                                                                  100%



Rec is in 3-hour blocks
SMI Table time is in 2 hour blocks
ADCM1569466-1569707




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                                                                                                     January 2019 - Florence Kasson
                                                                                           Maximum Custody Notebooks, Out-of-Cell Tracking Forms

                                                                                                                                       Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered     Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused                 Comments re refusals
                                       1            9h                   10x10                  15h                      3h                      Y                    10x10                    100%            all ooct refused
                                                                                                                                                                                                               all rec and smi table time refused. 1/3
                                      2            9h                    20x40                  16h4m                   4h4m                       Y                  20x40                     100%           programming refused.
                                                                                                                                                                                                               refused all rec and programming.
                                      1            9h                    10x10                  13h8m                     1h                       Y                  10x10                     100%           Refused 2/4 smi table times
                                                                                                                                                                                                               refused 2/3 recs and 1/3 smi table
                                      1            9h                    10x10                  14h8m                   4h2m                       Y                  10x10                     67%            times

                                                                                                                                                                                                               refused 1/3 recs, 2/3 smi table times
                                      1          9h5m                    10x10                  14h8m                   4h8m                       Y                  10x10                     33%            and returned 30m early from the last
                                                                                                                                                                                                               refused 30m of smi table time (came
                                      1          9h5m                    20x40                 16h45m                   4h36m                      Y                                             0%            in early)
                                      1           9h                     10x10                   13h                      3h                       Y                  10x10                     100%           refused all ooct
                                      3           9h                     20x40                   14h                      4h                       Y                  20x40                     100%           refused all ooct
                                                                                                                                                                                                               refused 2/3 programming, 1/3 smi
                                      3          9h44m                   20x40                 36h10m                   4h43m                      Y                                             0%            table times. 24hrs working
                                                                                                                                                                                                               refused all rec, 1/5 programming, 1/8
                                                                                                                                                                                                               smi table time. "other" ooct is anxiety
                                      3            9h                    20x40                  33h5m                   4h5m                       Y                  20x40                     100%           time?
                                                                                                                                                                                                               refused all ooct except 1hr
                                      1            9h                    10x10                  15h5m                   3h5m                       Y                  10x10                     100%           programming
                                                                                                                                                                                                               refused 2/3 recs, 3/4 smi table times,
                                      1            9h                    10x10                 15h30m                   3h30m                      Y                  10x10                      67%           2/3 programming
                                      1            9h                    10x10                   15h                      3h                       Y                  10x10                     100%           refused all ooct

                                      1          8h50m                   10x10                  16h1m                   3h58m                      Y                  10x10                     67%            refused 2/3 recs, 2/4 smi table times

                                                                                                                                                                                                               refused all rec, refused 3/4 smi table
                                      1            9h                    10x10                  16h8m                   3h50m                      Y                  10x10                     100%           times, refused 1/3 programming
                                                                                                                                                                                                               refused all rec and 2/3 smi table times.
                                                                                                                                                                                                               11h30m are "whipp" assignments and
                                      3            9h                    20x40                 25h25m                   3h45m                      Y                  20x40                     100%           porter duties

                                      3          9h7m                    20x40                 17h18m                   5h18m                      Y                  20x40                     67%            refused 2/3 recs and all smi table time

                                                                                                                                                                                                               refused all rec, refused all smi table
                                      3            9h                    20x40                 16h35m                   4h35m                      Y                  20x40                     100%           time, refused 1/3 programming
                                                                                                                                                                                                               refused all rec, 1/8 programming, 1/9
                                      3            9h                    20x40                 33h51m                   5h51m                      Y                  20x40                     100%           smi table times
                                                                                                                                                                                                               refused all ooct except for 1 smi table
                                      3            9h                    20x40                   15h                      3h                      Y                   20x40                     100%           time
                                                                                                                                               20 of 20                                Rec Refusal Rate: 80%
                                                                                                                                                100%



Rec is in 3.5-hour blocks
SMI Table time is in 2 hour blocks
ADCM1569730-1570069




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                                                                                                    January 2019 - Eyman Browning
                                                                                       Maximum Custody Notebooks, Out-of-Cell Time Tracking Forms

                                                                                                                                         Deemed Compliant with   Locations of Rec that
                                     Step   Total Rec Offered   Locations of Rec Offered       Other OOCT             Programming         Weekly Expectations        was Refused             % Rec Refused           Comments re refusals
                                       3           6h7m                  45x90                   1h13m                   1h13m                     Y                                               0%
                                       1            9h                   chute                      0                       0                      Y                    chute                    100%            all rec refused
                                       1         11h43m                  chute                      0                       0                      Y                                               0%
                                       1            9h                   chute                      0                       0                      Y                    chute                    100%            all rec refused
                                       1          9h55m                  chute                      0                       0                      Y                    chute                     33%            1/3 recs refused
                                       1          9h10m                  chute                      0                       0                      Y                    chute                                    2/3 recs refused
                                       3            6h                   10x10                     1h                      1h                      Y                    10x10                      67%           all ooct refused
                                                                                                                                                                                                                 1/2 recs refused, 1h
                                      3            6h                    10x10                      1h                      1h                         Y                10x10                      50%           programming refused
                                      2          12h3m              3 chute, 1 10x10              1h3m                     1h3m                        Y                chute                      75%           refused 3/4 recs
                                      1          9h6m                    chute                   16h56m                   4h33m                        Y                chute                      67%           refused 2/3 recs
                                      1            9h                    chute                     15h                      4h                         Y                chute                     100%           all ooct refused
                                                                                                                                                                                                                 refused all rec and
                                                                                                                                                                                                                 programming, refused 1/3 smi
                                      1           9h                     chute                   16h7m                      4h                         Y                chute                     100%           table times
                                      1           9h                     chute                     15h                      4h                         Y                chute                     100%           all ooct refused
                                      1           9h                     chute                     15h                      4h                         Y                chute                     100%           all ooct refused
                                      3          9h4m                    chute                   16h23m                   4h17m                        Y                chute                      67%           refused 2/3 recs
                                      3           9h                2 chute, 1 10x10             16h40m                   4h24m                        Y             chute, 10x10                 100%           refused all rec
                                                                                                                                                    16 of 16                             Rec Refusal Rate: 83%
                                                                                                                                                     100%
Rec is in 3-hour blocks
SMI Table time is in 4 hour blocks
ADCM1568916-1569178




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